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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 FEDERATION OF AMERICANS FOR                   §
 CONSUMER CHOICE, INC.; JOHN                   §
 LOWN d/b/a LOWN RETIREMENT                    §
 PLANNING; DAVID MESSING;                      §
 MILES FINANCIAL SERVICES, INC.;               §
 JON BELLMAN d/b/a BELLMAN                     §
 FINANCIAL; GOLDEN AGE                         §   C.A. No. 3:22-cv-00243-K-BN
 INSURANCE GROUP, LLC;                         §
 PROVISION BROKERAGE, LLC; and                 §
 V. ERIC COUCH,                                §
                                               §
           Plaintiffs,                         §
                                               §
 v.                                            §
                                               §
 UNITED STATES DEPARTMENT                      §
 OF LABOR and MARTIN J. WALSH,                 §
 SECRETARY OF LABOR,                           §
                                               §
           Defendants.                         §

             APPENDIX IN SUPPORT OF PLAINTIFFS’
MOTION FOR SUMMARY JUDGMENT AND BRIEF IN SUPPORT THEREOF

        Plaintiff files this appendix in support of its Motion for Summary Judgment and its

Brief in Support Thereof.

      Tab                          Description                           APP. Pages
      1.        Declaration of V. Eric Couch                        APP 003-005
      2.        Declaration of John Lown                            APP 006-007
      3.        Declaration of Jon Bellman                          APP 008-009
      4.        Declaration of Linda Buckholdt                      APP 010-012
      5.        Declaration of David Messing                        APP 013-014
      6.        Declaration of Matthew Miles                        APP 015-017

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     7.      Declaration of Kim O’Brien                                APP 018-020
     8.      Defendants’ Combined Cross-Motion to Dismiss              APP 021-063
             for Lack of Jurisdiction or, in the Alternative, for
             Summary Judgment, and Opposition to Plaintiff’s
             Motion for Summary Judgment
             C.A. No. 8:22-cv-00330-VMC, American Securities
             Association v. Martin J. Walsh, Secretary of Labor and
             United States Department of Labor, In the United States
             District Court, Middle District of Florida, Tampa
             Division
     9.      DOL Advisory Opinion 2005-23A (Dec. 7, 2005)              APP 064-067

Dated: July 15, 2022                       Respectfully submitted,

                                           By: /s/ Don Colleluori
                                              Andrew G. Jubinsky
                                              Texas Bar No. 11043000
                                              andy.jubinsky@figdav.com
                                              Don Colleluori
                                              Texas Bar No. 04581950
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                                           ATTORNEYS FOR PLAINTIFFS



                              CERTIFICATE OF SERVICE

       I hereby certify that, on July 15, 2022, this document was served by email on all
parties and/or attorneys of record in this matter through the Court’s CM/ECF filing system.

                                          /s/ Don Colleluori
                                          Don Colleluori




APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR                                        APP 002
SUMMARY JUDGMENT AND BRIEF IN SUPPORT THEREOF                                        PAGE 2
                                       TAB 1
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                         DECLARATION OF V. ERIC COUCH

       My name is V. Eric Couch. I am over 18 years of age, of sound mind, capable of

       making this declaration, and personally acquainted with the facts stated herein. The

       facts and statements contained in this declaration are made on the basis of my

       personal knowledge and are true and correct.

       I am a licensed life insurance and annuity agent in Texas and have been authorized

       and engaged in the solicitation of the sale of, among other products, annuities for

       over 20 years. Frequently when I am discussing the potential purchase of annuities

       by existing or potential clients, those individuals are considering rolling over funds

       that were previously maintained in 401k plans or other employer-sponsored

       welfare benefit plans that are subject to the Employee Retirement Income Security

       Act of 1974 (“ERISA”).

       I am also the sole member of ProVision Brokerage, LLC (“ProVision”), which is

       an independent insurance marketing organization. ProVision assists financial

       advisors, insurance agents, and clients with retirement planning, specializing in

       annuities and life insurance products. As part of those services, I and others provide

       advice with respect to the purchase of annuity products in IRAs, including in

       connection with rollovers from 401ks and other employer benefit plans under

       ERISA

       Due to the Final Interpretation adopted by the U.S. Department of Labor (the

       “Department”), which accompanied the Department’s adoption of Prohibited


                                                                                    APP 003
DECLARATION OF V. ERIC COUCH                                                          PAGE 1
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       Transaction Exemption 2020-02, Fed. Reg. 82798 (December 18, 2020) and

       became effective as to enforcement by the Department February 1, 2022, I have

       had to consider my business practices to be subject to ERISA requirements for the

       first time and have had to meet the requirements of a Prohibited Transaction

       Exemption (a “PTE”).

       Complying with the Final Interpretation and the requirements of a necessary PTE

       has subjected me and my business to additional compliance requirements, such as

       additional disclosures and documentation, potential liability under ERISA, and

       potential enforcement actions by the Department.

       As a result of these additional compliance requirements and potential liability

       under ERISA, I and my business have had to adopt new and burdensome

       procedures and documentation for tax-qualified annuity sales and these additional

       compliance requirements have led to a diminution in my tax-qualified annuity sales

       because in certain instances either I have had to decline offering annuities for sale

       due to concerns of satisfying ERISA requirements under the Final Interpretation,

       or potential consumers have declined to purchase annuities based on concerns over

       the PTE disclosures necessary to comply with the Final Interpretation.

       I am not a registered investment adviser under the Investment Advisers Act of

       1940, and as part of my business in assisting clients with insurance and annuities I

       have never held myself out as fiduciary investment adviser. Nevertheless, as a

       result of the Department’s New Interpretation, I am now subject to an entirely new

       regulatory regime with respect to the many of my customer relationships and the
                                                                                   APP 004
DECLARATION OF V. ERIC COUCH                                                         PAGE 2
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       common sales practices that I and many other insurance agents have long engaged

       in. In addition, as described above, the Final Interpretation and efforts to comply

       with the new PTE have already directly harmed my financial interests.

       I declare under penalty of perjury that the foregoing is true and correct.

       EXECUTED on this 8th day of July 2022.




                                          V. Eric Couch




                                                                                    APP 005
DECLARATION OF V. ERIC COUCH                                                         PAGE 3
                                     TAB 2
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                           DECLARATION OF JOHN LOWN

      My name is John Lown. I am over 18 years of age, of sound mind, capable of

      making this declaration, and personally acquainted with the facts stated herein. The

      facts and statements contained in this declaration are made on the basis of my

      personal knowledge and are true and correct.

      I am a licensed life insurance and annuity agent in Texas and have been authorized

      and engaged in the solicitation of the sale of, among other products, annuities for

      over 35 years. Frequently when I am discussing the potential purchase of annuities

      by existing or potential clients, those individuals are considering rolling over funds

      that were previously maintained in 401k plans or other employer-sponsored

      welfare benefit plans that are subject to the Employee Retirement Income Security

      Act of 1974 ("ERISA").

      Due to the Final Interpretation adopted by the U.S. Department of Labor (the

      "Department"), which accompanied the Department's adoption of Prohibited

      Transaction Exemption 2020-02, Fed. Reg. 82798 (December 18, 2020) and

       became effective as to enforcement by the Department February 1, 2022, I have

       had to consider my business practices to be subject to ERISA requirements for the

       first time and have had to meet the requirements of a Prohibited Transaction

       Exemption (a "PTE").

       Complying with the Final Interpretation and the requirements of a necessary PTE

       has subjected me and my business to additional compliance requirements, such as


                                                                                  APP 006
DECLARATION OF JOHN LOWN                                                              PAGEi
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       additional disclosures and documentation, potential liability under ERISA, and

       potential enforcement actions by the Department.

       As a result of these additional compliance requirements and potential liability

       under ERISA, I and my business have had to adopt new and burdensome

       procedures and documentation for tax-qualified annuity sales and these additional

       compliance requirements have led to a diminution in my tax-qualified annuity sales

       because in certain instances I have had to decline offering annuities for sale due to

       concerns of satisfying ERISA requirements under the Final Interpretation.

       I am not a registered investment adviser under the Investment Advisers Act of

       1940, and as part of my business in assisting clients with insurance and annuities I

       have never held myself out as fiduciary investment adviser. Nevertheless, as a

       result of the Department's New Interpretation, I am now subject to an entirely new

       regulatory regime with respect to the many of my customer relationships and the

       common sales practices that I have long engaged in. In addition, as described

       above, the Final Interpretation and efforts to comply with the new PTE have

       already directly harmed my financial interests.

       I declare under penalty of perjury that the foregoing is true and correct.

       EXECUTED on this &-'th day of July 2022.



                                           u~
                                          f6hnLown


                                                                                    APP 007
DECLARATION OF JOHN LOWN                                                              PAGE2
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                                        TAB 3

                         DECLARATION OF JON BELLMAN

       My name is Jon Bellman. I am over 18 years of age, of sound mind, capable of

       making this declaration, and personally acquainted with the facts stated herein. The

       facts and statements contained in this declaration are made on the basis of my

       personal knowledge and are true and correct.

       I am a licensed life insurance and annuity agent in Texas and have been authorized

       and engaged in the solicitation of the sale of, among other products, annuities for

       over 30 years. Frequently when I am discussing the potential purchase of annuities

       by existing or potential clients, those individuals are considering rolling over funds

       that were previously maintained in 401k plans or other employer-sponsored

       welfare benefit plans that are subject to the Employee Retirement Income Security

       Act of 1974 ("ERISA").

       Due to the Final Interpretation adopted by the U.S. Department of Labor (the

       "Department"), which accompanied the Department's adoption of Prohibited

       Transaction Exemption 2020-02, Fed. Reg. 82798 (December 18, 2020) and

       became effective as to enforcement by the Department February 1, 2022, I have

       had to consider my business practices to be subject to BRISA requirements for the

       first time and have had to meet the requirements of a Prohibited Transaction

       Exemption (a "PTE").

       Complying with the Final Interpretation and the requirements of a necessary PTE

       has subjected me and my business to additional compliance requirements, such as


                                                                                     APP 008
DECLARATION OF JON BELLMAN                                                            PAGEl
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       additional disclosures and documentation, potential liability under ERISA, and

       potential enforcement actions by the Department.

       As a result of these additional compliance requirements and potential liability

       under BRISA, I and my business have had to adopt new and burdensome

       procedures and documentation for tax-qualified annuity sales and these additional

       compliance requirements have led to a diminution in my tax-qualified annuity sales

       because in certain instances I have had to decline offering annuities for sale due to

       concerns of satisfying BRISA requirements under the Final Interpretation.

       I am not a registered investment adviser under the Investment Advisers Act of

        1940, and as part of my business in assisting clients with insurance and annuities I

       have never held myself out as fiduciary investment adviser. Nevertheless, as a

       result of the Department's New Interpretation, I am now subject to an entirely new

       regulatory regime with respect to the many of my customer relationships and the

       common sales practices that I have long engaged in. In addition, as described

       above, the Final Interpretation and efforts to comply with the new PTE have

       already directly harmed my financial interests.

       I declare under penalty of perjury that the foregoing is true and correct.

       EXECUTED on this _th day of July 2022.




                                                                                    APP 009
DECLARATION OF JON BELLMAN                                                           PAGE2
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                                        TAB 4

                         DECLARATION OF LTNDA BUCKHOLDT

          My name is Linda Buckholdt. I am over 18 years of age, of sound mind, capable

         of making this declaration, and personally acquainted with the facts stated herein.

         The facts and statements contained in this declaration are made on the basis of my

         personal knowledge and arc true and con-ect.

         I am a licensed life insurance and annuity agent in Texas and have been authorized

         and engaged in the solicitation of the sale of, among other products, annuities for

         over 25 years. Frequently when I am discussing the potential purchase of annuities

         by existing or potential clients, those individuals are considering rolling over funds

         that were previously maintained in 40 I k plans or other employer-sponsored

         welfare benefit plans that are subject to the Employee Retirement Income Security

         Act of 1974 ("ERJSA").

         I am also the shareholder and Chief Financial Officer of Golden Age Insurance
         Group, Inc. ("Golden Age"),

         which is an independent insurance marketing organization. Golden Age assists

         financial advisors, insurance agents, and clients with retirement planning,

         specializing in annuities and life insurance products. As part of those services, I

         and others provide advice with respeet to the purchase of annuity products in IRAs,

         including in connection with rollovers from 401 ks and other employer benefit plans

         under ERISA

         Due to the Final Interpretation adopted by the U.S. Department of Labor (the

         "Department"), which accompanied the Department's adoption of Prohibited

                                                                                     APP 010
DECLARATION OF LINDA BUCKIIOLDT                                                         PAGE)
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         Transaction Exemption 2020-02, Fed. Reg. 82798 (December 18, 2020) and

         became effective as to enforcement by the Department February 1, 2022, I have

         had to consider my business practices to be subject to ERISA requirements for the

         first time and have had to meet the requirements of a Prohibited Transaction

         Exemption (a "PTE").

         Complying with the Final Interpretation and the requirements of a necessary PTE

         has subjected me and my business to additional compliance requirements, such as

         additional disclosures and documentation, potential liability under ERISA, and

         potential enforcement actions by the Department.

         As a result of these additional compliance requirements and potential liability

         under ERISA, I and my business have had to adopt new and burdensome

         procedures and documentation for tax-qualified annuity sales and these additional

        compliance requirements have led to a diminution in my tax-qualified annuity sales

        because in certain instances either I have had to decline offering annuities for sale

        due to concerns of satisfying ERISA requirements under the Final Interpretation,

        or potential consumers have declined to purchase annuities based on concerns over

        the PTE disclosures necessary to comply with the Final Interpretation.

        I am not a registered investment adviser under the Investment Advisers Act of

        1940, and as part of my business in assisting clients with insurance and annuities I

        have never held myself out as fiduciary investment adviser. Nevertheless, as a

        result of the Department's New Interpretation, I am now subject to an entirely new

       regulat01y regime with respect to the many of my customer relationships and the
                                                                                   APP 011
DECLARATION OF LINDA BUCKIIOLDT                                                       PAGE2
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           common sales practices that I and many other insurance agents have long engaged

           in. In addition, as described above, the Final Interpretation and efforts to comply

           with the new PTE have already directly harmed my financial interests.

           I declare under penalty of perjury that the foregoing is true and correct.

           EXECUTED on this .a_th day of July 2022.




                                                                                        APP 012

D ECLARATION OF LINDA BUCK IIOLDT
                                                                                         PAGE3
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                                         TAB 5



                             DECLARATION OF DAVID MESSING

        My name is David Messing. I am over 18 years of age, of sound mind, capable of

         making this declaration, and personally acquainted with the facts stated herein. The

         facts and statements contained in this declaration are made on the basis of my

         pei·sonal knowiedge and are true and coITect.

         I am a licensed life insurance and annuity agent in Texas and have been authorized

         and engaged in the solicitation of the sale of, among othet products, annuities for

         over 30 years. Frequently when I am discussing the potential purchase of annuities

         by existing or potential clients, those individuals are considering rolling over funds

         that were previously maintained in 40 lk plans or other employer-sponsored

         welfare benefit plans that are subject to the Employee Retirement Income Security

         Act of 1974 ("ERISA").

         Due to the Final Interpretation adopted by the U.S. Department of Labor (the

         "Department"), which accompanied the Department's adoption of Prohibited

         Transaction Exemption 2020-02, Fed. Reg. 82798 (December 18, 2020) and

         became effective as to enforcement by the Department February l , 2022, I have

         had to consider my business practices to be subject to ERISA requirements for the

         first time and have had to meet the requirements of a Prohibited Transaction

         Exemption (a "PTE").

         Complying with the Final Interpretation and the requirements of a necessary PTE

         has subjected me and my business to additional compliance requirements, such as



DECLAllA TION OF DA \Ill) MESSING                                                        PAGEl

                                                                                     APP 013
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        additional disclosures and documentation, potential liability under ERISA, and

        potential enforcement actions by the Department.

        As a result of these additional compliance requirements and potential liability

        under ERISA, I and my business have had to adopt new and burdensome

        procedures and documentation for tax-qualified annuity sales and these additional

        compliance requirements have led to a diminution in my tax-qualified annuity sales

        because in certain instances I have had to decline offering annuities for sale due to

        concerns of satisfying ERISA requirements under the Final Interpretation.

        I am a registered investment adviser under the Investment Advisers Act of 1940,

        and part of my business in assisting clients has in certain instances involved my

        role as a fiduciary investment adviser but not as an ERISA fiduciaiy prior to

        inception of the New Interpretation. As a result of the Department's New

        Interpretation, I am now subject to an additional new regulatory regime with

        respect to the many of my customer relationships and the common sales practices

        that I have long engaged in, including those practices as a registered investment

        adviser. In addition, as described above, the Final Interpretation and efforts to

        comply with the new PTE have already directly hanned my financial interests.

        I declai·e under penalty of perjury that the foregoing is true ~d correct.

        EXECUTED on this _th day of July 2022.




                                         «zng ~
DECLARATION OF DA YID MESSING                                                         PAGE2

                                                                                     APP 014
Case 3:22-cv-00243-K-BT Document 21 Filed 07/15/22             Page 15 of 67 PageID 156
                                       TAB 6

                       D CLARATIO         OFMATTHEWMILES

       My name is Matt ew Miles. I am over 18 years of age, of sound mind, capable of

       making this declar tion, and personally acquainted with the facts stated herein. The

       facts and stateme ts contained in this declaration are made on the basis of my

       personal knowled e and are true and correct.

       I am a licensed lift insurance and annuity agent in Texas and have been authorized

       and engaged in th solicitation of the sale of, among other products, annuities for

       over 30 years. Fre uently when I am discussing the potential purchase of annuities

       by existing or pote tial clients, those individuals are considering rolling over funds

       that were previo sly maintained in 401 k plans or other employer-sponsored

       welfare benefit pl   s that are subject to the Employee Retirement Income Security

       Act of 1974 ("ERi A").

       I am also the princ pal of Miles Financial Services, Inc. ("Miles Financial"), which

       operates as an in ependent insurance marketing organization. Miles Financial

       assists financial a visors, insurance agents, and clients with retirement planning,

       specializing in an uities and life insurance products. As part of those services, I

       and others provide advice with respect to the purchase of annuity products in IRAs,

       including in conne tion with rollovers from 401 ks and other employer benefit plans

       under ERISA

       Due to the Final nterpretation adopted by the U.S. Department of Labor (the

       "Department"), w ich accompanied the Department's adoption of Prohibited


                                                                                     APP 015
DECLARA TJON OF MATTHEW MI ES                                                          PAGE 1
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      Transaction Exe1 ption 2020-02, Fed. Reg. 82798 (December 18, 2020) and

      became effective s to enforcement by the Department February 1, 2022, I have

      had to consider m business practices to be subject to ERISA requirements for the

      first time and ha e had to meet the requirements of a Prohibited Transaction

      Exemption (a "PT ").

      Complying with t e Final Interpretation and the requirements of a necessary PTE

      has subjected me nd my business to additional compliance requirements, such as

      additional disclos res and documentation, potential liability under ERISA, and

      potential enforce ent actions by the Department.

      As a result of th se additional compliance requirements and potential liability

      under ERISA, I      nd my business have had to adopt new and burdensome

      procedures and do umentation for tax-qualified annuity sales and these additional

      compliance requir ments have led to a diminution in my tax-qualified annuity sales

      because in certain nstances either I have had to decline offering annuities for sale

      due to concerns o satisfying ERISA requirements under the Final Interpretation,

      or potential consu ers have declined to purchase annuities based on concerns over

      the PTE disclosure necessary to comply with the Final Interpretation.

      I am not a registe ed investment adviser under the Investment Advisers Act of

      1940, and as part o my business in assisting clients with insurance and annuities I

      have never held     yself out as fiduciary investment adviser. Nevertheless, as a

      result of the Depa ment's New Interpretation, I am now subject to an entirely new

      regulatory regime    ith respect to the many of my customer relationships and the
                                                                                  APP 016
                                                                                    PAGE2
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       common sales pra tices that I and many other insurance agents have long engaged

       in. In addition, as described above, the Final Interpretation and efforts to comply

       with the new PTE have already directly harmed my financial interests.

       I declare under pe alty of perjury that the foregoing is true and correct.

       EXECUTED on t is .Lith day of July 2022.




                                                                                    APP 017
DECLARATION OF MATTHEW MILES                                                         PAGE3
                                      TAB 7
Case 3:22-cv-00243-K-BT Document 21 Filed 07/15/22           Page 18 of 67 PageID 159




                             DECLARATION OF KIM O’BRIEN

My name is Kim O’Brien. I am over 18 years of age, of sound mind, capable of making

this declaration, and personally acquainted with the facts stated herein. The facts and

statements contained in this declaration are made on the basis of my personal knowledge

and are true and correct.

I am the chief executive officer of the Federation of Americans for Consumer Choice

(“FACC”), an Internal Revenue Code section 501c (6) organization incorporated in Texas.

FACC is dedicated to advancing the interests of independent distribution of guaranteed

insurance products through insurance-licensed professionals, as well as providing its

members opportunities for education, advancement, and improvement in all aspects of their

independent agent and agency businesses.

FACC was founded to represent and give voice to interests of its membership of

independent insurance agents and agencies in:

       (a) recognizing the value of guaranteed fixed insurance and annuity products and

related services offered through the independent distribution channel; and

       (b) preserving freedom of choice for consumers who seek the services of

independent agents licensed to sell guaranteed fixed insurance and annuity products

representing multiple carriers.

I have been working with independent insurance professionals and agencies for over 35

years. In my role at FACC, I speak to and consult with numerous FACC members daily.




                                                                                APP 018
DECLARATION OF KIM O’BRIEN                                                         PAGE 1
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Due to the Final Interpretation adopted by the U.S. Department of Labor (the

“Department”), which accompanied the Department’s adoption of Prohibited Transaction

Exemption 2020-02, 85 Fed. Reg. 82798 (December 18, 2020) and became effective as to

enforcement by the Department February 1, 2022, FACC’s agent members have had to

consider their business practices to be subject to ERISA requirements for the first time and

have had to meet the requirements of a Prohibited Transaction Exemption (a “PTE”).

Complying with the Final Interpretation and the requirements of a necessary PTE has

subjected their businesses to additional compliance requirements, such as additional

disclosures and documentation, potential liability under ERISA, and potential enforcement

actions by the Department.

As a result of these additional compliance requirements and potential liability under

ERISA, I am aware of many of FACC’s members who have had to adopt new and

burdensome procedures and documentation for tax-qualified annuity sales and these

additional compliance requirements have led to a diminution in tax-qualified annuity sales

by FACC’s members because in certain instances these members have had to decline

offering annuities for sale due to concerns of satisfying ERISA requirements under the

Final Interpretation. I am also aware of FACC members who have simply decided to no

longer engage in tax-qualified annuity sales because of the Department’s new regulatory

initiative.

The Department’s final interpretation harms insurance agents and registered investment

advisers alike. The registered investment advisors who assist clients have in certain

instances been involved with clients and potential clients in the advisors’ role as fiduciary
                                                                                    APP 019
DECLARATION OF KIM O’BRIEN                                                            PAGE 2
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investment advisers, but not as an ERISA fiduciaries prior to inception of the Final

Interpretation. As a result of the Department’s new interpretation, these FACC members

are now subject to an additional regulatory regime overseen by the Department with respect

to many of their longstanding customer relationships. For all of these reasons, the Final

Interpretation and efforts to comply with the new PTE have already directly harmed our

members financial interests.

I declare under penalty of perjury that the foregoing is true and correct.



EXECUTED on this 12th day of July 2022.




                                           Kim O’Brien




                                                                                 APP 020
DECLARATION OF KIM O’BRIEN                                                          PAGE 3
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                                 TAB 8
                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

                                  )
 AMERICAN SECURITIES ASSOCIATION, )
                                  )
                  Plaintiff,      )
                                  )
 v.                               ) Civil Action No. 8:22-cv-00330-VMC
                                  )
 MARTIN J. WALSH, SECRETARY OF    )
 LABOR, and UNITED STATES         )
 DEPARTMENT OF LABOR,             )
                                  )
                  Defendants.     )
                                  )
                                  )

    DEFENDANTS’ COMBINED CROSS-MOTION TO DISMISS FOR LACK OF
  JURISDICTION OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT, AND
      OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




                                                                     APP 021
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                                          INTRODUCTION

        The Department of Labor has broad authority under the Employee Retirement Income

Security Act of 1974 (“ERISA”) to protect Americans’ retirement savings. As part of this

authority, ERISA authorizes the Secretary of Labor to grant exemptions that would allow

fiduciaries to certain ERISA-qualified retirement plans to receive compensation that would

otherwise be prohibited as self-dealing. See 29 U.S.C. § 1106(a). Pursuant to this authority, the

Department adopted Prohibited Transaction Exemption 2020-02, 85 Fed. Reg. 82798 (December

18, 2020), after publishing a notice in the Federal Register, soliciting comments from interested

parties (including Plaintiff here), and holding a public hearing. The Exemption’s preamble

addressed, among other things, the comments received regarding financial advice provided to

retirees in the context of rollovers from ERISA plans to Individual Retirement Accounts (“IRAs”)

and set forth the Department’s interpretation of when such advice would meet the statutory and

regulatory definition of fiduciary investment advice. In April 2021, the Department published a

series of responses to Frequently Asked Questions (“FAQs”) on its website which closely tracked

language in the preamble to the Exemption and provided “guidance on [the Exemption] and

information on the Department’s next steps in its regulation of investment advice.” AR 1347.1

        Plaintiff, the American Securities Association, objects to these FAQs, which discuss

situations where investment professionals and broker dealers assume fiduciary obligations in the

context of rollover recommendations, where “objective evidence” demonstrates that the parties

“mutually intend an ongoing advisory relationship,” AR 9-10, even though its members openly

admit that they are, in fact, assuming fiduciary obligations in the normal course. However unclear



1 Citations with the prefix “AR” refer to the Administrative Record filed in this case. See ECF No. 33. A
joint appendix containing portions of the record cited by the parties will be filed on August 26, 2022. See
ECF No. 34 at 1.
                                                                                                 APP 028
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Plaintiff’s injuries may be in this scenario, its proposed remedy of enjoining or setting aside two

of the Department’s FAQs without challenging the underlying, substantive policy that those FAQs

embody is downright bizarre. This Court lacks jurisdiction over this challenge because Plaintiff

has failed to identify an injury arising from the two FAQs, and its proposed remedy—aimed only

at the FAQs while ignoring the actual Exemption—would do nothing to redress any injury.

       Even if this Court has jurisdiction, Plaintiff’s claims fail. Plaintiff asserts that the

Department failed to engage in notice-and-comment rulemaking when publishing the FAQs, but

those FAQs are merely guidance about the interpretation set forth in the Exemption’s preamble

and thus exempt from the Administrative Procedure Act’s (“APA”) notice-and-comment

rulemaking requirement. 5 U.S.C. § 553(a). Even if the Court somehow found a procedural defect

in the promulgation of the FAQs, it would be harmless error given that Plaintiff participated in the

notice-and-comment process that led to the publication of the identical guidance in the

Exemption’s preamble.

       On the substance, Plaintiff’s claim that the FAQs are arbitrary and capricious is without

merit. The interpretation of “fiduciary” included in the Exemption’s preamble and the FAQs is

consistent with the statutory definition provided in ERISA, see 29 U.S.C. § 1002(21)(A), and with

the operative regulations promulgated by the Department in 1975, see 29 C.F.R. §2510.3-21(c)(1)

(“the 1975 regulation”). The plain language of these statutory and regulatory provisions supports

the Department’s interpretation of investment advice fiduciaries as applied to rollover

recommendations. Even if those provisions were ambiguous, the Department’s interpretation of

its regulations would be subject to deference under Auer v. Robbins, 519 U.S. 452 (1997).

       This Court should either dismiss this lawsuit for lack of jurisdiction or, if it finds that

jurisdiction exists, grant summary judgment to Defendants.


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                             LEGAL AND PROCEDURAL BACKGROUND

            Congress enacted ERISA in 1974 based on its determination that Americans’ retirement

 savings were not adequately protected to their detriment and that of the country. Pub. L. No. 93-

 406, 88 Stat. 829, 898 (1974) (codified at 29 U.S.C. §§ 1001, et seq.). Prior to ERISA, “federal

 involvement in the monitoring of pension funds in this country was minimal.” Sec’y of Labor v.

 Fitzsimmons, 805 F.2d 682, 689 (7th Cir. 1986).2 Congress thus enacted ERISA “after determining

 that the then present system of regulation was ineffective in monitoring and preventing fraud and

 other pension fund abuses.” Id. The statutory framework included, inter alia, enhanced “disclosure

 and reporting” requirements, “standards of conduct, responsibility, and obligation for fiduciaries

 [to] employee benefit plans,” and “appropriate remedies, sanctions, and ready access to the Federal

 courts.” 29 U.S.C. § 1001(b); see also Aetna Health Inc. v. Davila, 542 U.S. 200, 208 (2004); Ali

 v. California Field Ironworkers Tr. Fund, No. 09-cv-1031, 2010 WL 358539, at *2 (M.D. Fla. Jan.

 23, 2010) (Covington, J.) (“Congress enacted ERISA to protect the interests of participants in

 employee benefit plans and their beneficiaries”).

            Title I of ERISA imposes stringent obligations on individuals who engage in important

 plan-related activities, i.e., “fiduciar[ies].” 29 U.S.C. § 1104. In defining who qualifies as a

 “fiduciary” under ERISA, Congress took an express statutory departure from the common law

 understanding of that term, defining “‘fiduciary’ not in terms of formal trusteeship, but in

 functional terms . . . thus expanding the universe of persons subject to fiduciary duties.” Mertens

 v. Hewitt Assocs., 508 U.S. 248, 262 (1993). See also Hunt v. Hawthorne Assocs., Inc., 119 F.3d

 888, 892 n.2 (11th Cir. 1997) (“The term ‘fiduciary’ has a broader meaning under ERISA than at

 common law”); Useden v. Acker, 947 F.2d 1563, 1581 (11th Cir. 1991) (emphasizing the “obvious



 2   Internal citations, quotations, and alterations are omitted in this brief unless otherwise indicated.
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 care with which ERISA’s remedial provisions are formulated” and noting that “the statute is, in its

 contours, meaningfully distinct from the body of the common law of trusts.”).

        Under ERISA, “a person is a fiduciary with respect to a plan to the extent”:

        (i) he exercises any discretionary authority or discretionary control respecting
        management of such plan or exercises any authority or control respecting
        management or disposition of its assets,

        (ii) he renders investment advice for a fee or other compensation, direct or indirect,
        with respect to any moneys or other property of such plan, or has any authority or
        responsibility to do so, or

        (iii) he has any discretionary authority or discretionary responsibility in the
        administration of such plan.

 29 U.S.C. § 1002(21)(A) (emphasis added). A “fiduciary” under Title I of ERISA must adhere to

 duties of loyalty and prudence. Id. § 1104. The former requires a fiduciary to “discharge his duties

 with respect to a plan solely in the interest of the participants and beneficiaries” and for the

 “exclusive purpose” of providing benefits to participants and beneficiaries and defraying

 reasonable expenses of plan administration. Id. § 1104(a)(1). The latter requires a fiduciary to act

 “with the care, skill, prudence, and diligence under the circumstances then prevailing that a prudent

 man acting in a like capacity and familiar with such matters would use in the conduct of an

 enterprise of a like character and with like aims.” Id. § 1104(a)(1)(B).

        As an additional protective measure, Congress prohibited fiduciaries from engaging in

 specified transactions Congress deemed inherently fraught with conflicts of interest. Id. § 1106;

 see Lockheed Corp. v. Spink, 517 U.S. 882, 888 (1996) (Congress’s goal was to “bar categorically”

 transactions likely to injure a plan and its beneficiaries). In particular, a fiduciary must not “deal

 with the assets of the plan in his own interest or for his own account” or “receive any consideration

 for his own personal account from any party dealing with such plan in connection with a

 transaction involving the assets of the plan.” 29 U.S.C. § 1106(b)(1), (3). Given the breadth of the

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 prohibited transaction provisions, Congress enumerated statutory exemptions from some of them.

 Id. § 1108(b). In addition, Congress delegated to the Secretary of Labor (“the Secretary”) the broad

 authority to grant “conditional or unconditional” administrative exemptions on a class-wide or

 individual basis, if the Secretary finds that such an exemption is: (1) administratively feasible, (2)

 in the interests of the plan and of its participants and beneficiaries, and (3) protective of the rights

 of participants and beneficiaries of such plan. Id. § 1108(a).

         In Title II of ERISA, Congress amended the Internal Revenue Code (“the Code”) to adopt

 a “fiduciary” definition parallel to that in Title I. 26 U.S.C. § 4975(e)(3). Title II covers most

 employee benefit plans covered by Title I, as well as other tax-favored retirement and savings

 plans (collectively “IRAs”). While the Code provisions do not include duties of loyalty and

 prudence, they do, as in Title I, prohibit fiduciaries and others from engaging in specified

 conflicted transactions. Id. § 4975(c). The Secretary has the authority to grant administrative

 exemptions from these Code provisions on the same terms as in Title I. Id. § 4975(c)(2).3 Those

 who violate the Code’s prohibited transaction provisions are subject to excise taxes enforced by

 the Internal Revenue Service (“IRS”). Id. § 4975(a)-(b).

         ERISA also delegated to the Secretary broad authority to “prescribe such regulations as he

 finds necessary or appropriate to carry out the provisions of [Title I of ERISA].” 29 U.S.C. § 1135.

 “Among other things, such regulations may define accounting, technical and trade terms used in

 such provisions.” Id. Pursuant to that authority, the Department in 1975 issued a regulation stating


 3The parallel provisions of Title I of ERISA and § 4975 of the Code led to redundancy. To harmonize their
 administration and interpretation, President Carter issued Reorganization Plan No. 4 in 1978, 5 U.S.C. App.
 1, 29 U.S.C. § 1001 note (“Reorg. Plan”), which Congress ratified in 1984. See Pub. L. No. 98-532, 98 Stat.
 2705 (1984). Among other things, the Reorganization Plan transferred to the Department the interpretive,
 rulemaking, and exemptive authority for the fiduciary definition and prohibited transaction provisions that
 apply to both employer-based plans and IRAs. See Reorg. Plan § 102 (transferring “all authority of the
 Secretary of the Treasury to issue [regulations, rulings, opinions, and exemptions under section 4975 of the
 Code] . . . to the Secretary of Labor”).
                                                                                                   APP 032
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 when a person “renders investment advice for a fee or other compensation” within the meaning of

 the second prong of the “fiduciary” definition in ERISA. 40 Fed. Reg. 50842 (Oct. 31, 1975).4 It

 significantly narrowed the scope of the statutory definition by setting forth a five-part test, under

 which a person was deemed to “render[] investment advice” when he: (1) renders advice as to the

 value of securities or other property, or makes recommendations as to the advisability of investing

 in, purchasing, or selling securities or other property, (2) on a regular basis, (3) pursuant to a mutual

 agreement, arrangement or understanding, with the plan or a plan fiduciary, (4) where that advice

 will serve as a primary basis for investment decisions with respect to plan assets, and (5) the advice

 will be individualized based on the particular needs of the plan. See 29 C.F.R. § 2510.3–21(c)(1);

 Nat’l Assoc. for Fixed Annuities v Perez, 217 F. Supp. 3d 1, 23 (D.D.C. 2016).

         The 1975 regulation was promulgated before 401(k) plans existed and before IRAs were

 commonplace, and the market for retirement savings has undergone a dramatic shift since the 1975

 regulation was issued. For example, rollovers from ERISA-covered Plans to IRAs were expected

 to approach $2.4 trillion cumulatively from 2016 through 2020. AR 75. Moreover, “[p]articipants

 in individual participant-directed defined contribution Plans (DC Plans) and IRA investors are

 responsible for investing their retirement savings, and they often seek high quality, impartial

 advice from financial service professionals to make prudent investment decisions.” AR 50.

         As a result of these changes in market conditions, in 2016, the Department finalized a new

 regulation that would have replaced the 1975 regulation and granted new associated prohibited

 transaction exemptions. In 2018, the U.S. Court of Appeals for the Fifth Circuit vacated that

 rulemaking, including the new exemptions, in Chamber of Commerce v. U.S. Department of




 4The 1975 regulation also applies to the definition of fiduciary in the Code, which is identical in its wording.
 See 26 C.F.R. § 54.4975–9(c); 40 Fed. Reg. 50840 (October 31, 1975).
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 Labor, 885 F.3d 360 (5th Cir. 2018). Specifically, the court found that the 2016 rule—which did

 away with the “regular basis” and “primary basis” prongs of the 1975 rule—was inconsistent with

 ERISA, and took particular issue with a requirement in the 2016 rulemaking that financial services

 providers, as a condition for receiving the associated exemption, enter into an enforceable contract

 with the retirement investor, which would have given IRA investors the right to sue financial

 institutions and advisers for breach of contract. See id. at 366-67.

        On July 7, 2020, the Department proposed a new class exemption, which took into

 consideration the Fifth Circuit’s ruling, public correspondence and comments received by the

 Department since February 2017, and informal industry feedback seeking an administrative class

 exemption for otherwise-prohibited transactions. See AR 70. 5 The Notice “set[] forth the

 Department’s interpretation of the [1975] five-part test of investment advice fiduciary status and

 provide[d] the Department’s views on when advice to roll over Plan assets to an IRA could be

 considered fiduciary investment advice under ERISA and the Code.” AR 71. In light of the Fifth

 Circuit’s ruling in Chamber of Commerce, the Notice made clear that:

         [a]ll prongs of the [1975] five-part test must be satisfied for the investment advice
        provider to be a fiduciary within the meaning of the regulatory definition, including
        the “regular basis” prong and the prongs requiring the advice to be provided
        pursuant to a “mutual” agreement, arrangement, or understanding that the advice
        will serve as “a primary basis” for investment decisions.

 AR 75. Additionally, given that “Financial Institutions and Investment Professionals may have a

 strong economic incentive to recommend that investors roll over assets into one of their

 Institution’s IRAs,” AR 81, the Department proposed, for purposes of the exemption, a

 documentation requirement in connection with a fiduciary rollover recommendation.



 5 At the same time, the Department published a technical amendment to the Code of Federal Regulations,
 implementing the Fifth Circuit’s vacatur of the 2016 rulemaking by removing language from the CFR that
 the 2016 rulemaking added and reinstating the 1975 Regulation. See AR 102-207.
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        The Department received 106 written comments on the proposed exemption from a variety

 of interested parties. American Securities Association (“ASA”), the Plaintiff here, submitted a

 comment on August 6, 2020. In that comment, ASA requested that the Department “make explicit

 that the ERISA ‘five-part test’ will be consistent with the Fifth Circuit’s opinion regarding the

 2016 Rule,” and argued that requiring broker-dealers to disclose their fiduciary status to investors

 in the context of rollover recommendations was “unnecessary and could have adverse impacts,”

 and that such “written affirmation requirements” would “add unnecessary subjectivity and

 complexity.” AR 379. Based on the Department’s request for comment on “overlapping regulatory

 requirements” with other agencies, ASA also argued that the Department’s regulatory framework

 in this area should embrace the Securities and Exchange Commission’s (“SEC”) national Best

 Interest Standard regulation (“Reg BI”) for broker-dealers. AR 380.

        Following a public hearing on September 3, 2020—at which commenters were permitted

 to give additional testimony—the Department published Prohibited Transaction Exemption 2020-

 02 on December 18, 2020. See AR 1. In the preamble to the Exemption, which contained a lengthy

 discussion of the various comments that were received and the rationale for the Department’s

 decision-making with respect to the Exemption, the Department characterized the preamble and

 Exemption as its “final interpretation of when advice to roll over Plan assets to an IRA will be

 considered fiduciary investment advice under Title I and the Code.” Id. The preamble noted the

 agency’s final view that a one-time rollover recommendation, without other “objective evidence”

 demonstrating that the parties “mutually intend an ongoing advisory relationship,” would not “be

 considered fiduciary investment advice under the five-part test set forth in the Department’s

 regulation.” AR 9-10. The preamble also provided concrete examples of the type of documentation

 that a fiduciary would be expected to provide in order to “form a prudent recommendation” that


                                                                                           APP 035
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 ensures “that a rollover is in the best interest of the Retirement Investor.” AR 33-34. Plaintiff filed

 this lawsuit on February 9, 2022. See Compl., ECF No. 1.

             REPONSE TO PLAINTIFF’S STATEMENT OF MATERIAL FACTS

        1.      Defendants agree that the Prohibited Transaction Exemption 2020-02, Improving

 Investment Advice for Workers & Retirees, 85 Fed. Reg. 82798 (Dec. 18, 2020), was published

 on December 18, 2020. See AR 1-69. Moreover, as the portion of the Administrative Record relied

 upon by Plaintiff makes clear, see AR 8-11, the 1975 five-part test for fiduciary advice, see 29

 C.F.R. § 2510.3-21(c)(1), continues to apply under the Exemption. See AR 8 (“All the elements

 of the [1975] five-part test must be satisfied for the investment advice provider to be a fiduciary

 within the meaning of the regulatory definition, including the ‘regular basis’ prong . . . .”); AR 9

 (“The regulation still requires, in all cases, that advice will be provided on a regular basis. The

 Department’s interpretation merely recognizes that the rollover recommendation can be the

 beginning of an ongoing advice relationship.”).

        2.      Defendants agree that the Frequently Asked Questions document identified by

 Plaintiff was published in April 2021. See AR 1346. The record is undisputed both from the title

 of the document—“New Fiduciary Advice Exemption: PTE 2020-02, Improving Investment

 Advice for Workers & Retirees, Frequently Asked Questions”—and on its face that the FAQs were

 not issued as a standalone document but were issued to “provide guidance on PTE 2020-02 and

 information on the Department’s next steps in its regulation of investment advice,” AR 1346-47.

        3.      Defendants lack knowledge sufficient to form a belief about the truth of the factual

 allegations advanced by Plaintiff in this paragraph.

        4-6.    As explained in greater detail below, see infra Arg. § I, Defendants believe that

 Plaintiff has not identified a cognizable, redressable injury to itself or its members by virtue of

 FAQ 7 and 15, and that the Court therefore lacks subject matter jurisdiction over Plaintiff’s claims.
                                                                                              APP 036
                                                   9
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             DEFENDANTS’ STATEMENT OF ADDITIONAL MATERIAL FACTS

        1.      PTE 2020-02 (the Exemption) went through notice-and-comment rulemaking. AR

 70. Plaintiff participated in this notice-and-comment process by submitting a comment expressing

 its views on, inter alia, the application of the 1975 regulation (the five-part test) to rollover

 recommendations. AR 378.

        2.      The preamble to the Exemption “sets forth the Department’s final interpretation of

 the five-part test of investment advice fiduciary status for purposes of this exemption, and provides

 the Department’s views on when advice to roll over Title I Plan assets to an IRA will be considered

 fiduciary investment advice under Title I and the Code.” AR 1.

        3.      Plaintiff does not seek relief from the Exemption or the preamble. See Compl. ¶¶

 55-97 (Counts I-IV).

        4.      The language included in the response to FAQ 7 and FAQ 15 is materially

 indistinguishable from language included in the preamble. See infra Arg. § I.B for side-by-side

 comparison and corresponding record cites.

        5.      The preamble and the FAQs both state that the 1975 regulation and five-part test

 apply to rollover recommendations. AR 6 (Preamble); AR 1350 (FAQ 6). The preamble and the

 FAQs both state that furnishing of one-time rollover advice, without more, would not satisfy the

 “regular basis” prong of the 1975 regulation and would not constitute fiduciary advice. AR 8

 (Preamble); AR 1351 (FAQ 7).

                                           ARGUMENT

        The court should either dismiss Plaintiff’s claims for lack of subject matter jurisdiction

 under Rule 12(b)(1) or Rule 12(h)(3), or should grant summary judgment to Defendants under

 Rule 56 and deny Plaintiff’s motion for summary judgment


                                                                                            APP 037
                                                  10
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 I.      THIS COURT LACKS JURISDICTION TO ADJUDICATE PLAINTIFF’S
         CLAIMS BECAUSE PLAINTIFF HAS NOT SUFFERED A COGNIZABLE
         INJURY REDRESSABLE BY THE RELIEF IT SEEKS IN THE COMPLAINT

         Plaintiff cannot invoke the jurisdiction of this court unless it “can show ‘a personal stake

 in the outcome of the controversy.’” Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018) (quoting Baker

 v.   Carr,    369     U.S.    186,     204    (1962)).     A    plaintiff’s standing to           sue    “is   a

 threshold jurisdictional question which must be addressed prior to and independent of the merits

 of a party’s claims,” Bochese v. Town of Ponce Inlet, 405 F.3d 964, 974 (11th Cir. 2005). Because

 this requirement “involves the court’s competency to consider a given type of case,” it “cannot be

 waived or otherwise conferred upon the court by the parties.” Univ. of S. Ala. v. Am. Tobacco Co.,

 168 F.3d 405, 410 (11th Cir. 1999).

         At its “irreducible constitutional minimum,” the standing doctrine requires satisfaction of

 three elements: (1) a concrete and particularized injury-in-fact, either actual or imminent, (2) a

 causal connection between the injury and defendant’s challenged conduct, and (3) a likelihood that

 the injury suffered will be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S.

 555, 560 (1992). “The party invoking federal jurisdiction bears the burden of establishing these

 elements.” Id. at 561; see also Sweet Pea Marine, Ltd. v. APJ Marine, Inc., 411 F.3d 1242, 1248

 n.2 (11th Cir. 2005) (“[T]he burden to establish the existence of federal subject matter jurisdiction

 rests with the party bringing the claim[.]”). Here, Plaintiff fails each prong of this test, and the

 Court should dismiss Plaintiff’s complaint pursuant to Rule 12(b)(1) for that reason. 6



 6 Alternatively, the court may dismiss the case for lack of subject matter jurisdiction under Fed. R. Civ. P.
 12(h)(3). See Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1231, 1240 (11th Cir. 2003)
 (holding that where the court “lacked [federal] subject matter jurisdiction,” “[i]nstead of entering summary
 judgment in favor of appellee, the district court should have dismissed appellants’ APA claims, sua
 sponte if necessary, pursuant to Fed. R. Civ. P. 12(h)(3)”). In either event, the result is the same. See Roberts
 v. Swearingen, 358 F. Supp. 3d 1341, 1348 (M.D. Fla. 2019) (Covington, J.) (granting defendant’s summary
 judgment motion “which the Court construes as a Motion to Dismiss for lack of standing under Rules
                                                                                (footnote continued on next page)
                                                                                                         APP 038
                                                       11
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        A.      Plaintiff Has Not Suffered a Cognizable Injury in Fact.

        Plaintiff’s challenge is limited to two FAQs. See Compl. ¶¶ 55-97. Even assuming

 arguendo a procedural defect in the promulgation of the FAQs, the Supreme Court has made clear

 that “deprivation of a procedural right without some concrete interest that is affected by the

 deprivation—a procedural right in vacuo—is insufficient to create Article III standing.” Summers

 v. Earth Island Inst., 555 U.S. 488, 496 (2009). Here, Plaintiff was required to establish “by

 affidavit or other evidence,” Lujan, 504 U.S. at 561, that it was injured by either FAQ. Plaintiff

 has failed to do so, and the case should be dismissed for lack of subject matter jurisdiction.

        1. FAQ 7:

        With respect to FAQ 7, which addresses circumstances under which a first-time provision

 of advice to roll over assets from a 401(k) into an IRA may be considered fiduciary investment

 advice, Plaintiff relies on the Declaration of Paul Schultz, Managing Director at Robert W. Baird

 & Co., as purporting to identity a member of ASA that has been injured by this FAQ. However,

 Mr. Schultz testifies that his company’s mission is “to provide the best financial advice and

 services to our clients by striving to help them create great outcomes in their financial life and by

 always keeping their interests first.” Declaration of Paul Schultz ¶ 3, ECF No. 39-3 (“Schultz

 Decl.”) (emphasis added). Ms. Ashley Palermo, Director of Products and Services at Stephens,

 Inc., an Arkansas-based investment bank, similarly avers that her financial institution’s services

 “include providing discretionary and non-discretionary fiduciary investment advice to participants

 in employee benefit plans and individual retirement accounts (“IRAs”), including

 recommendations to roll over an employee benefit plan to an IRA plan held at Stephens.”



 12(b)(1) and 12(h)(3)”); Greystone Bank v. Tavarez, No. 09-cv-5192, 2010 WL 3325203, *1 (E.D.N.Y.
 Aug.19, 2010) (“[T]he distinction between a Rule 12(b)(1) motion and a Rule 12(h)(3) motion is largely
 academic, and the same standards are applicable to both types of motions.” ).
                                                                                             APP 039
                                                  12
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 Declaration of Ashley A. Palermo ¶ 4, ECF No. 39-4 (“Palermo Decl.”) (emphasis added). Mr.

 Christopher Iacovella, the CEO of ASA, states in his declaration that one of ASA’s organizational

 missions is to “is to promote trust and confidence among investors.” Declaration of Christopher

 Iacovella ¶ 3, ECF No. 39-2 (“Iacovella Decl.”) (emphasis added). As the Fifth Circuit itself noted

 in Chamber of Commerce, citing a treatise, under common law fiduciaries are, among other

 attributes, “individuals or corporations who appear to accept, expressly or impliedly, an obligation

 to act in a position of trust or confidence for the benefit of another.” Chamber of Commerce, 885

 F.3d at 370–71 (quoting 3 Dan B. Dobbs, et al., The Law of Torts, § 697 (2d ed. June 2017

 Update)). In essence, Plaintiff’s evidence is that its members are in the business of behaving as

 trusted advisors to individual investors to promote their financial goals, including in the context of

 rollover decisions, satisfying even this aspect of the common law understanding of fiduciary as

 articulated by the Fifth Circuit. 7

         Plaintiff does not identify how it and its members are injured by a requirement that they

 behave as fiduciaries, given that is what they claim they are already doing. Indeed, the one member

 of the organization put forward by ASA as allegedly being injured by FAQ 7, Mr. Schultz, claims

 that providing fiduciary advice is his company’s default business model. Schultz Decl. ¶ 3. Not

 surprisingly, there is no precedent for granting a party standing to challenge a regulation that does

 not materially affect its operations in a manner that causes it injury. See, e.g., CAMP Legal Def.

 Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1274 (11th Cir. 2006) (plaintiff “must establish ‘by

 affidavit or other evidence,’ that every challenged provision affects” the plaintiff) (quoting Lujan,

 504 U.S. at 561)); Sierra Club v. Morton, 405 U.S. 727, 739 (1972) (affirming “[t]he requirement



 7 As explained infra Arg. § 3.A, the Department believes the Fifth Circuit erred in its conclusion that
 ERISA’s definition of fiduciary mirrored the common law understanding of that term, and disagrees with
 that court’s cabined analysis of the common law relating to fiduciaries in any event.
                                                                                              APP 040
                                                   13
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 that a party seeking review must allege facts showing that he is himself adversely affected”).

        Nor does FAQ 7 command anything of entities providing routine fiduciary financial advice

 to retirement plan holders under Title I. Rather, it is simply guidance regarding an exemption that

 provides regulated entities with a pathway to avail themselves of a benefit; that is, receiving

 otherwise illegal compensation in circumstances where an advice provider may have a conflict of

 interest insofar as they are recommending a rollover to an IRA that they themselves supervise, or

 where they are receiving a commission from a third-party as a result of that recommendation. See

 AR 30 (noting that “[t]his exemption gives broad relief for a wide range of activities that fiduciaries

 otherwise would be prohibited from engaging in” and that an investment advice professional

 engaged “in a relationship that satisfies the five-part test” should comply with certain standards of

 conduct “if they wish to avail themselves of this particular exemption”). No party is under an

 obligation to use the Exemption, as the Department noted in the preamble to the Exemption. See

 AR 54 (“Not all entities will decide to use the exemption. Some may instead rely on other existing

 exemptions that better align with their business models.”).

        Because ASA has not shown through declarations or other evidence that it or any of its

 members has been injured by the Department’s guidance, ASA lacks associational standing to

 challenge FAQ 7. See Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)

 (an association has standing to bring suit on behalf of its members” only when “its members would

 otherwise have standing to sue in their own right”); League of Women Voters of Fla., Inc. v. Lee,

 --- F. Supp. 3d. ---, 2022 WL 969538, at *91 (N.D. Fla. Mar. 31, 2022) (“Accordingly, because

 DRF has not established that any one constituent would have standing to challenge the drop box

 provision, DRF has not proved associational standing to challenge that provision”).

        2. FAQ 15:

        With respect to FAQ 15, both in the complaint and in its supporting declarations at
                                                                                              APP 041
                                                   14
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 summary judgment, Plaintiff asserts generalized allegations that providing documentation to

 retirement investors in the context of rollover recommendations would incur undue time and

 expense. See Compl. ¶ 54 (“These requirements, however, are burdensome, expensive, and time-

 consuming.”); Schultz Decl. ¶ 13 (“Complying with [the FAQs] would be burdensome, expensive,

 time-consuming, and unfeasible.”). The most detailed factual allegation of injury comes from the

 Palermo Declaration, which states that providing documentation to prospective clients as to why

 a “rollover recommendation is in a retirement investor’s best interest,” AR 1355, would require

 her company to “purchase expensive software to comply with these requirements and its advisors

 must devote numerous hours complying with the Department’s new documentation requirements.”

 Palermo Decl. ¶ 10. These assertions are inadequate to support standing, for two reasons.

        First, this suggestion of additional expense is unduly vague and insufficiently “concrete”

 for purposes of Article III standing. See Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (in

 addition to being particularized to plaintiff, “[a]n injury in fact must also be ‘concrete’”). As

 Justice Scalia observed, standing is not an “ingenious academic exercise in the conceivable,” but

 instead “requires . . . a factual showing of perceptible harm.” Summers, 555 U.S. at 499. At

 summary judgment, more than threadbare assertions of compliance costs are required for Article

 III standing purposes. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990) (“The object of

 [Rule 56] is not to replace conclusory allegations of the complaint or answer with conclusory

 allegations of an affidavit.”)

        Second, as with FAQ 7, the documentation requirement described in FAQ 15 does not

 command anything of any regulated party for purposes of routine business functions but instead

 conditions receipt of a benefit—the ability to receive otherwise illegal financial compensation—

 on an individual or organization providing documentation explaining why a rollover is in the


                                                                                          APP 042
                                                15
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 client’s best interest. As Plaintiff’s testimony makes clear, it is their business to provide prudent

 advice in the customer’s best interest, something that would necessarily require them to consider

 the participant’s current plan and how it compares to any recommended investments. Plaintiff has

 failed to show that any additional expenses incurred in connection with the documentation

 requirement would be so onerous that they would not be offset by financial gains made by ASA

 members when they were permitted to receive otherwise-prohibited compensation from third

 parties for successfully promoting rollover recommendations.

        B.      Plaintiff’s Alleged Injury is Not Traceable to Either FAQ.

        The traceability inquiry “examines the causal connection between the assertedly unlawful

 conduct and the alleged injury.” Allen v. Wright, 468 U.S. 737, 753 n.19 (1984). Specifically, “[i]t

 requires that there be a causal connection between the challenged action and the injury alleged in

 the complaint.” Fed’n for Am. Immigr. Reform, Inc. v. Reno, 897 F. Supp. 595, 604 (D.D.C. 1995).

 Here, the causation element of Plaintiff’s alleged injury is wholly lacking because the FAQs are

 not a source of standalone policy; rather, they merely restate and synthesize for interested parties

 the contours of the agency’s policy as set forth in the preamble and the Exemption.

        In fact, FAQ 7 (concerning rollovers) is virtually a verbatim recitation of the Department’s

 interpretation contained in the preamble, as the table below illustrates.

           Exemption Preamble (AR 8)                               FAQ 7 (AR 1351)
  The Department acknowledges that a single          A single, discrete instance of advice to roll
  instance of advice to take a distribution from a   over assets from an employee benefit plan to
  Title I Plan and roll over the assets would fail   an IRA would not meet the regular basis prong
  to meet the regular basis prong.                   of the 1975 test.

  However, advice to roll over plan assets can       However, advice to roll over plan assets can
  also occur as part of an ongoing relationship or   also occur as part of an ongoing relationship or
  an intended ongoing relationship that an           as the beginning of an intended future ongoing
  individual enjoys with his or her investment       relationship that an individual has with an
  advice provider.                                   investment advice provider.


                                                                                             APP 043
                                                  16
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  In circumstances in which the investment             When the investment advice provider has been
  advice provider has been giving advice to the        giving advice to the individual about investing
  individual about investing in, purchasing, or        in, purchasing, or selling securities or other
  selling securities or other financial instruments    financial instruments through tax-advantaged
  through tax-advantaged retirement vehicles           retirement vehicles subject to ERISA or the
  subject to Title I or the Code, the advice to roll   Code, the advice to roll assets out of the
  assets out of a Title I Plan is part of an ongoing   employee benefit plan is part of an ongoing
  advice relationship that satisfies the regular       advice relationship that satisfies the regular
  basis prong.                                         basis prong.

  Similarly, advice to roll assets out of a Title I    [W]hen the investment advice provider has not
  Plan into an IRA where the investment advice         previously provided advice but expects to
  provider has not previously provided advice          regularly make investment recommendations
  but will be regularly giving advice regarding        regarding the IRA as part of an ongoing
  the IRA in the course of a more lengthy              relationship, the advice to roll assets out of an
  financial relationship would be the start of an      employee benefit plan into an IRA would be
  advice relationship that satisfies the regular       the start of an advice relationship that satisfies
  basis prong.                                         the regular basis requirement.

        A comparison of FAQ 15 and the language in the preamble demonstrates a similar,

 substantive overlap with no material distinctions:

         Exemption Preamble (AR 33-35)                                FAQ 15 (AR 1355)
  The requirement to document the reasons that         Financial institutions and      investment
  a rollover is in the best interest of the            professionals must consider and document
  Retirement Investor is included . . . to ensure      their prudent analysis of why a rollover
  that . . . Investment Professionals take the time    recommendation is in a retirement investor’s
  to form a prudent recommendation…                    best interest.

  With respect to recommendations to roll assets For recommendations to roll over assets from
  . . . into an IRA, the factors that a Financial an employee benefit plan to an IRA, the
  Institution and Investment Professional should relevant factors include but are not limited to:
  consider and document include the following:
                                                    the alternatives to a rollover, including leaving
  alternatives to a rollover, including leaving the the money in the investor’s employer’s plan, if
  money in his or her current employer’s Plan, if permitted;
  permitted
                                                    the fees and expenses associated with both the
  the fees and expenses associated with both the plan and the IRA;
  Plan and the IRA;
                                                    whether the employer pays for some or all of
  whether the employer pays for some or all of the plan’s administrative expenses
  the Plan’s administrative expenses;
                                                    the different levels of services and investments
  the different levels of services and investments available under the plan and the IRA.

                                                                                                APP 044
                                                   17
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       Exemption Preamble (AR 33-35)                             FAQ 15 (AR 1355)
  available under the Plan and the IRA.

  the Department expects that Investment            investment professionals and financial
  Professionals and Financial Institutions          institutions should make diligent and prudent
  evaluating this type of potential rollover will   efforts to obtain information about the existing
  make diligent and prudent efforts to obtain       employee benefit plan and the participant’s
  information about the existing Title I Plan and   interests in it.
  the participant’s interests in it.

  If the Retirement Investor is unwilling to        If the retirement investor won’t provide the
  provide the information, even after a full        information, even after a full explanation of its
  explanation of its significance, and the          significance, and the information is not
  information is not otherwise readily available,   otherwise readily available, the financial
  the Financial Institution and Investment          institution and investment professional should
  Professional should make a reasonable             make a reasonable estimation . . . [and] should
  estimation [and] . . . should document and        document and explain the assumptions used
  explain the assumptions used and their            and their limitations.
  limitations.

        It is thus beyond dispute that, insofar as Plaintiff alleges an injury from the Department’s

 policy judgment with respect to fiduciary advice in the context of rollovers or from the types of

 documentation the Department has said is appropriate to provide to an investor in connection with

 such a rollover, that injury is not traceable to the FAQs. This lack of traceability is similar to

 Kimelman v. Garland, --- F. Supp. 3d ---, 2022 WL 621401, at *2 (D.D.C. Mar. 3, 2022), where a

 convicted felon living in New York challenged federal laws prohibiting the purchase and

 possession of firearms by felons. Because New York law also prohibited felons from purchasing

 firearms, the court found that his alleged injury (even if cognizable) was not traceable to federal

 law. See id. (“Kimelman’s traceability problem arises because federal law is not the only reason

 he cannot lawfully purchase or possess a firearm . . . Thus, he cannot show that his alleged harm

 is fairly traceable to federal law.”). In ASA’s case, even assuming that the FAQs restate existing

 Department policy, the injury is not causally traced to the FAQs given that the overall policy is

 articulated in the preamble and the Exemption—which Plaintiff does not challenge here. Fla.


                                                                                            APP 045
                                                 18
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 Audubon Soc. v. Bentsen, 94 F.3d 658, 669 (D.C. Cir. 1996) (“Not to require that a plaintiff show

 that its particularized injury resulted from the government action at issue would effectively void

 the particularized injury requirement.”) (emphasis added).

        C.      Any Injury Would Not Be Redressed by a Withdrawal of the FAQs.

        Similar to the traceability problem, Plaintiff also lacks standing because the relief it

 seeks—declaratory and injunctive relief that would enjoin or set aside the FAQs—would not

 provide redress for its alleged injuries. Redressability requires that it is “likely, as opposed to

 merely speculative, that the injury will be ‘redressed by a favorable decision.” Lujan, 504 U.S. at

 561. Courts “must be able “to ascertain from the record whether the relief requested is likely to

 redress the alleged injury,” Steele v. Nat’l Firearms Act Branch, 755 F.2d 1410, 1415 (11th Cir.

 1985). See also DiMaio v. Democratic Nat’l Comm., 520 F.3d 1299, 1303 (11th Cir. 2008)

 (dismissing complaint for lack of standing because it did not “suggest in any way how [the] ‘injury’

 could be redressed by a favorable judgment”).

        Here, any judicial order setting aside the FAQs would not provide redress because virtually

 identical language exists in the preamble to the Exemption, which was published in the Federal

 Register and which explains at great length the Department’s thinking on the application of the

 1975 five-part test to rollover recommendations. Yet Plaintiff challenges only the FAQs and not

 the virtually identical language in the preamble accompanying the Exemption, which constitutes

 the Department’s “final interpretation of when advice to roll over Plan assets to an IRA will be

 considered fiduciary investment advice under Title I and the Code,” AR 1. The civil plaintiff

 “is the ‘master of his complaint’ and “determines the claims . . . to bring.” Steves & Sons, Inc. v.

 JELD-WEN, Inc., 988 F.3d 690, 728 (4th Cir. 2021). Therefore, for the claims brought and the

 relief sought here, a judicial ruling setting aside the subsequent guidance contained in the FAQs

 would leave the Exemption and the text of the preamble intact, meaning that any injunctive or
                                                                                           APP 046
                                                 19
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 declaratory relief against the FAQs would not change Plaintiff’s legal position or redress its alleged

 injuries. See Renee v. Duncan, 686 F.3d 1002, 1013 (9th Cir. 2012) (for redressability, plaintiffs

 “need [to] show that there would be a change in a legal status”); see also Steel Co. v. Citizens for

 a Better Env’t, 523 U.S. 83, 103 n.5, 107 (1998) (plaintiff must show that he “personally would

 benefit in a tangible way from the court’s intervention” and “[r]elief that does not remedy the

 injury suffered cannot bootstrap a plaintiff into federal court.”).

        The situation here is unlike the litigation relied upon by ASA regarding two FAQs issued

 by the Centers for Medicare and Medicaid Services (CMS). See ASA Br. at 18-19, ECF No. 39

 (discussing New Hampshire Hosp. Ass’n v. Azar, 887 F.3d 62 (1st Cir. 2018)). For those CMS

 FAQs, there was no antecedent indication from the agency as to its views on calculating the

 Medicaid payments at issues, and thus, as one district court found, “FAQ 33 is the only

 thing standing between the plaintiffs and redress of their injuries.” Tex. Children’s Hosp. v.

 Burwell, 76 F. Supp. 3d 224, 239 (D.D.C. 2014); see also New Hampshire Hosp. Ass’n v. Burwell,

 2017 WL 822094, at *7 (D.N.H. Mar. 2, 2017) (“If FAQs 33 and 34 are unenforceable, however,

 the audit of Fiscal Year 2011 based on FAQs 33 and 34 is no longer accurate,” further noting that

 “Defendants do not explain why [the state agency] would recoup funds from plaintiff hospitals if

 no overpayments were made”). In other words, because the FAQs were the only source relied upon

 by the state agency for its effort to recoup overpayments, enjoining the FAQs would tend to redress

 Plaintiff’s injuries insofar as they were predicated on that audit.

        The upshot of these cases is simple: where FAQs merely encapsulate an agency’s pre-

 existing regulatory enactments, setting aside those FAQs would do nothing to address any alleged

 injury that actually arises from the substantive enactments. They are, after all, just FAQs.




                                                                                             APP 047
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        Here, because the relief that Plaintiff seeks against the FAQs would leave it in the exact

 same position as it is currently, Plaintiff lacks standing and the case should be dismissed for lack

 of subject matter jurisdiction. See Fed. R. Civ. P. 12(h); Sweet Pea Marine, 411 F.3d at 1248 n.2

 (plaintiff bears “the burden to establish the existence of federal subject matter jurisdiction.”).

 II.     THE FAQS ARE PROCEDURALLY PROPER INTERPRETIVE RULES

         Should the Court conclude that Plaintiff’s claims are properly before it, Defendants are

 entitled to summary judgment on Plaintiff’s procedural APA claims (Counts I and III) because the

 challenged FAQs are interpretive rules exempt from the APA’s notice-and-comment rulemaking

 procedures. See 5 U.S.C. § 553(b)(A) (APA’s notice-and-comment requirement “does not apply

 . . . to interpretative rules, general statements of policy, or rules of agency organization, procedure,

 or practice.”) Rather than effecting a substantive change in policy, the FAQs by their own terms

 are an interpretative rule that “provide[s] guidance on [the Exemption] and information on the

 Department’s next steps in its regulation of investment advice,” AR 1347, particularly with respect

 to application of the 1975 five-part test to rollover recommendations. The FAQs are thus the

 “prototypical example of an interpretive rule issued by an agency to advise the public of its

 construction of the statutes and rules it administers,” Shalala v. Guernsey Mem’l Hosp., 514 U.S.

 87, 88 (1995), specifically ERISA and the 1975 regulation.

        Moreover, even if Plaintiff’s procedural arguments with respect to the FAQs had merit, the

 due process concerns underlying the notice-and-comment requirement for legislative rules are

 plainly absent here, where the FAQs are identical in all material respect to the text of the preamble

 of the Exemption, a document that reflected the exhaustive notice-and-comment period in which

 Plaintiff itself participated. Because ASA did participate in the notice-and-comment process that

 led to the preamble and the Final Exemption, and because the FAQs merely restate agency

 guidance already discussed in the preamble, the “[a]bsence of . . . prejudice” is “clear,” which in
                                                                                               APP 048
                                                   21
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 turn justifies application of the harmless error rule. United States v. Schwarzbaum, 24 F.4th 1355,

 1366 (11th Cir. 2022); see Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644, 659–

 60 (2007) (“In administrative law . . . there is a harmless error rule.”).

        A.      The FAQs Are Not a Legislative Rule.

        Plaintiff’s argument that that the FAQs were “procedurally improper because they

 effectively amend the Department’s existing regulations,” ASA Br. at 16, does not withstand

 scrutiny. The FAQs are a nationally applicable guidance document interpreting an aspect of a prior

 legislative rule—the 1975 regulation. Similar guidance documents have regularly been upheld as

 interpretive rules exempt from notice-and-comment rulemaking requirements. See POET

 Biorefining, LLC v. EPA, 970 F3d 392, 408 (D.C. Cir. 2020).

        The Supreme Court has stated that “the critical feature of interpretive rules is that they are

 issued by an agency to advise the public of the agency’s construction of the statutes and rules

 which it administers.” Perez v. Mortgage Bankers Ass’n, 575 U.S. 92, 97 (2015); see also Mendoza

 v. Perez, 754 F.3d 1002, 1021 (D.C. Cir. 2014) (“Interpretative rules are those that clarify a

 statutory or regulatory term, remind parties of existing statutory . . . duties, or merely track[]

 preexisting requirements and explain something the statute or regulation already required.”). Here,

 the FAQs neither amend a prior regulation nor announce a change in policy; they merely “provide

 guidance on PTE 2020-02 and information on the Department’s next steps in its regulation of

 investment advice,” AR 1347. They therefore “advise the public of the agency’s construction of

 . . . rules which it administers,” Perez, 575 U.S. at 97—namely the 1975 regulation and the

 Exemption. See also Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 83 (D.C. Cir. 2020) (an

 interpretive rule “derive[s] a proposition from an existing document,” such as a statute, regulation,

 or judicial decision, “whose meaning compels or logically justifies the proposition.”).

        As a starting point, it is appropriate for courts to consider the agency’s own characterization
                                                                                             APP 049
                                                  22
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 of its action as legislative or interpretive. See Warshauer v. Solis, 577 F.3d 1330, 1337–38 (11th

 Cir. 2009) (“it is relevant that the Secretary characterizes the rule as interpreting” a statutory

 provision); see also Gen. Motors Corp. v. Ruckleshaus, 742 F.2d 1561, 1565 (D.C. Cir. 1984) (en

 banc) (noting that the “starting point” of the analysis is the agency’s characterization of the rule);

 Iowa League of Cities v. EPA, 711 F.3d 844, 872 (8th Cir. 2013) (noting that

 “agency’s characterization of its rule as legislative or interpretative, while not dispositive, is

 entitled to deference”). Here, the text of the FAQs makes clear that the agency was interpreting

 an existing regulation and giving guidance to market participants on how the Department would

 interpret the 1975 regulation and its five-part test for purposes of implementing the Exemption, in

 effect providing “a clarification or explanation of an existing statute or rule.” Chen Zhou Chai v.

 Carroll, 48 F.3d 1331, 1341 (4th Cir. 1995).

         The FAQs by their own terms interpret the 1975 regulation and its application to fiduciary

 investment advice, including in the context of rollover decisions. For example, the response to

 FAQ 1 in the same document—“Why did the department grant PTE 2020-02?”—notes that “[t]he

 preamble to the new exemption makes clear that the 1975 fiduciary regulation can extend to advice

 to roll assets out of a plan to an IRA and the exemption provides relief for prohibited transactions

 resulting from such advice.” AR 1347. Indeed, the FAQs are replete with citations to the 1975

 regulation. See, e.g., AR 1350 (FAQ 6) (“All parts of the 1975 test must be satisfied for a firm or

 investment professional to be an investment advice fiduciary when making a recommendation.”);

 AR 1351 (FAQ 8) (“In applying the 1975 test, the Department intends to consider the reasonable

 understandings of the parties based on the totality of the circumstances.”).

        Given the clear references to the 1975 regulation, Plaintiff’s reliance on New Hampshire

 Hospital Ass’n v. Azar, 887 F.3d 62 (1st Cir. 2018), is misplaced. There, the First Circuit noted


                                                                                             APP 050
                                                  23
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 that “in announcing and explaining the FAQs, the Secretary offered no meaningful hint that the

 Secretary derived the policy announced in the FAQs from an interpretation of the statute or the

 regulation.” Id. at 72. Here, of course, the FAQs refer to the 1975 regulation as the source of the

 agency’s five-part test for fiduciary status. In Children’s Hospital of the King’s Daughters, Inc.

 v. Azar, a Fourth Circuit case interpreting the same set of FAQs as those in New Hampshire

 Hospital Ass’n, the court noted that “neither [the] specific provision in the preamble nor the

 preamble in general” addresses the issue raised in the FAQs. 896 F.3d 615, 621–22 (4th Cir. 2018).

        Here, by contrast, the Notice of Proposed Exemption clearly spelled out that the

 Department was seeking to provide regulatory clarity following the Fifth Circuit’s Chamber of

 Commerce decision and was seeking comments on the Proposed Exemption, including “the

 Department’s interpretation of the five-part test of investment advice fiduciary status” and “the

 Department’s views on when advice to roll over Plan assets to an IRA could be considered

 fiduciary investment advice under ERISA and the Code.” AR 71. The preamble to the Final

 Exemption contains a detailed discussion of the comments received in response to the notice,

 including comments on application of the 1975 five-part test to rollovers. See AR 2-51. Plaintiff’s

 reliance on cherry-picked language from New Hampshire Hospital Association—where the Court

 observed that the preamble to a prior CMS rule was not subject to notice-and-comment

 rulemaking—ignores a critical distinction to the present case: here, the preamble to the Final

 Exemption is itself a discussion of all of the comments received on the application of the 1975

 regulation (and the five-part test) to rollover recommendations, an APA rulemaking process in

 which Plaintiff participated. To the extent that Plaintiff objects to the fact that the preamble, which

 included a summary of a notice-and-comment process, did not go through another round of notice-

 and-comment, the law demands no such endless cycle. See Rybachek v. U.S. EPA, 904 F.2d 1276,


                                                                                              APP 051
                                                   24
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 1286 (9th Cir. 1990) (“The [plaintiffs’] unviolated right was to comment on the proposed

 regulations, not to comment in a never-ending way on the EPA’s responses to their comments.”).

        Similarly instructive is National Council for Adoption v. Blinken, 4 F.4th 106, 114–15

 (D.C. Cir. 2021). There, the Department of State issued guidance on international adoption fee

 schedules in a response to Frequently Asked Questions posted on the Department of State’s

 website. The FAQs had the effect of prohibiting the referral of certain children to certain parents

 for purposes of adoptions, particularly so-called “soft referrals.” The DC Circuit found the FAQs

 procedurally invalid because the State Department “had never before announced a categorical

 prohibition on the two types of soft referrals the Guidance prohibits. In fact, it’s doubtful State had

 ever even published rules mentioning ‘soft referrals,’ much less categorically prohibiting any.” Id.

 at 114. The Court also noted that “when the Guidance appeared on State’s website, some adoption

 agencies didn’t know what a ‘soft referral’ was.” Id.

        Here, by contrast, the 1975 regulation has been on the books for decades, and the

 Department published a Notice of Proposed Class Exemption which sought public comment on

 the application of the 1975 regulation to, inter alia, recommendations to roll over assets from a

 ERISA-covered plan to an IRA. AR 76. Following that public comment period, the Department

 issued the Final Exemption and explained in great detail its reasons for doing so. In contrast to

 National Council for Adoption, where the State Department “never said it was clarifying or

 interpreting specific provisions of a treaty, statute, or regulation,” Nat’l Council for Adoption, 4

 F.4th at 115, here the Department of Labor put interested parties on notice that it would be

 announcing guidance on the application of the 1975 regulation to rollovers, solicited public

 comments on this proposal, and explained its interpretation in light of the comments received.

        B.      Any Procedural Errors Were Harmless.

        Plaintiff’s procedural objections to the FAQs are also unavailing for a second reason:
                                                                                              APP 052
                                                  25
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 because the FAQs in question are virtually identical to language that was included in the preamble

 to the Exemption, which did go through a notice-and-comment rulemaking procedure in which

 Plaintiff itself participated, any procedural errors in the publication of the FAQs are harmless given

 that prior participation. See Nat’l Ass’n of Home Builders, 551 U.S. at 659–60.

         Indeed, as explained supra Arg. § I.B, the responses to FAQ 7 and 15 are virtually verbatim

 recitations of the Department’s explanation for how it would apply the 1975 regulation to first-

 time financial advice given in the context of a rollover under certain conditions, along with the

 documentation that a financial advisor should provide to the retirement investor in order to make

 sure that the rollover is in his or her best interest. Given the similar language in the notice and the

 preamble to the Final Exemption, it is plainly not the case that the “agency’s decision to issue

 an interpretive rule, rather than a legislative rule” was “driven [] . . . by a desire to skirt notice-

 and-comment provisions.” Perez, 575 U.S. at 105. Quite the opposite.

         Because Plaintiff participated in the notice-and-comment process that led to the preamble

 and the Exemption, it cannot claim to have been prejudiced by any error resulting from a failure

 to submit the FAQs to an additional round of notice-and-comment rulemaking. See 5 U.S.C. § 706

 (APA instructs courts to take take “due account ... of the rule of prejudicial error.”); see also United

 States v. Dean, 604 F.3d 1275, 1288 (11th Cir. 2010) (“If the agency’s mistake did not affect the

 outcome, if it did not prejudice the petitioner, it would be senseless to vacate and remand for

 reconsideration.”). Given ASA’s own participation in the rulemaking process that led to the

 Exemption preamble and the identical FAQs, the “absence of ... prejudice” is “clear.” U.S. Steel

 Corp. v. U.S. EPA, 595 F.2d 207, 215 (5th Cir. 1979). See also Salmeron-Salmeron v. Spivey, 926

 F.3d 1283, 1286 (11th Cir. 2019) (harmless-error applies where “a mistake of the administrative

 body is one that clearly had no bearing on the procedure used or the substance of decision”).


                                                                                               APP 053
                                                   26
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 III.      THE FAQS SURVIVE ARBITRARY AND CAPRICIOUS REVIEW, AND
           DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT

           Plaintiff’s substantive APA claims also fail. First, Plaintiff’s suggestion of incongruity

 between the FAQs and prior statutes and regulations does not hold water. Indeed, the plain

 meaning of ERISA and the 1975 regulations supports the interpretation included in the FAQs, and

 that interpretation is also in accord with the Fifth Circuit’s opinion in Chamber of Commerce.

 Second, and alternatively, to the extent that the definition of “regular basis” under the 1975

 regulations is ambiguous, the Department’s interpretation of its own regulations is entitled to

 deference, and the interpretation is reasonable in any event.

        A. The FAQs Align With The Fifth Circuit’s Interpretation Of “Fiduciary” Under
           ERISA And Are Consistent With The Plain Meaning Of The 1975 Regulation.

           In Chamber of Commerce, the Fifth Circuit held that ERISA’s definition of fiduciary

 incorporated the common law of trusts, necessitating “a special relationship of trust and confidence

 between the fiduciary and his client.” Chamber of Commerce, 885 F.3d at 365. The Department

 continues to believe that ruling was in error because the Supreme Court had previously concluded

 that Congress took an express statutory departure from the common law understanding of that

 term, defining “‘fiduciary’ not in terms of formal trusteeship, but in functional terms . . . thus

 expanding the universe of persons subject to fiduciary duties.” Mertens, 508 U.S. at 262, 264; see

 also Varity Corp. v. Howe, 516 U.S. 489, 497 (1996) (“ERISA’s standards and procedural

 protections partly reflect a congressional determination that the common law of trusts did not offer

 completely satisfactory protection.”).

           Nevertheless, the Department took special pains to address the Fifth Circuit’s concerns in

 its subsequent promulgation of the Exemption so as to bring the Department’s regulation of

 fiduciary investment advice in line with the Fifth Circuit’s interpretation of ERISA’s text. Though

 Plaintiff’s brief argues that the FAQs are inconsistent with Chamber of Commerce based purely
                                                                                            APP 054
                                                  27
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 on the Department’s view that in some cases, advice to roll over assets from an ERISA plan to an

 IRA might meet the definition of fiduciary investment advice, in fact Plaintiff overreads Chamber

 of Commerce as precluding for all time the regulation of rollover recommendations.

         The Fifth Circuit opinion does no such thing. Rather, the Fifth Circuit held that the 2016

 Fiduciary Rule was inconsistent with ERISA’s text in part because it “expressly includes one-time

 IRA rollover or annuity transactions where it is ordinarily inconceivable that financial salespeople

 or insurance agents will have an intimate relationship of trust and confidence with prospective

 purchasers.” 885 F.3d at 380. For purposes of the FAQs at issue here, the Department agrees and

 stated on a number of occasions in the preamble and the FAQs that a one-time rollover

 recommendation, without other “objective evidence” demonstrating that the parties “mutually

 intend an ongoing advisory relationship,” AR 9-10, would not “be considered fiduciary investment

 advice under the five-part test set forth in the Department’s regulation.” AR 7; see also AR 1351

 (FAQ 7) (“A single, discrete instance of advice to roll over assets from an employee benefit plan

 to an IRA would not meet the regular basis prong of the 1975 test.”). This approach—under which

 “the Department intends to consider the reasonable understandings of the parties based on the

 totality of the circumstances” to determine whether a fiduciary relationship exists—is entirely

 consistent with the approach taken by the Fifth Circuit. Id. 8



 8 Moreover, in addition to reinstating the 1975 regulation in full, the Department elected to jettison from
 the Exemption several elements of the 2016 Fiduciary Rule and associated exemption that the Fifth Circuit
 found objectionable. For example, under the 2016 Rule, fiduciaries that received conflicted compensation
 were required to enter into an enforceable contract with the advice recipient as a condition for relief from
 the prohibited transaction provisions that otherwise barred the compensation, and the 2016 Rule gave IRA
 investors the right to sue financial institutions and advisers for breach of contract. The Fifth Circuit found
 that contractual requirement to be inconsistent with Congressional intent under Title II, see Chamber of
 Commerce, 885 F.3d at 381-82. The Exemption here does not include a contract requirement, nor does it
 create a private right of action. Moreover, the 2016 rule also limited an investment adviser’s ability to
 require an advice recipient to agree to binding, pre-dispute arbitration, which the Fifth Circuit found in dicta
 likely violated the Federal Arbitration Act, see id. at 385.
                                                                                                      APP 055
                                                       28
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        In addition to its consistency with the plain meaning of “fiduciary investment-advice” as

 used in ERISA, the FAQs also comport with the plain text of the 1975 regulation. Regulations are

 interpreted “in the same manner as statutes, looking first to the regulation’s plain language.”

 United States v. Fafalios, 817 F.3d 155, 159 (5th Cir. 2016); accord Mahoney v. Nokia, Inc., 444

 F. Supp. 2d 1246, 1257 (M.D. Fla. 2006), aff’d, 236 F. App’x 574 (11th Cir. 2007). Before

 determining that a regulation is ambiguous, however, courts must also “make a conscientious effort

 to determine, based on indicia like text, structure, history, and purpose, whether the regulation

 really has more than one reasonable meaning.” Kisor v. Wilkie, 139 S. Ct. 2400, 2424 (2019).

        Here, the 1975 regulation defines a “fiduciary” as one who “(1) renders advice to the plan

 as to the value of securities or other property, or makes recommendation[s] as to the advisability

 of investing in, purchasing, or selling securities or other property,” (2) “on a regular basis,” (3)

 “pursuant to a mutual agreement, arrangement or understanding,” with the plan or a plan fiduciary

 that (4) the “advice will serve as a primary basis for investment decisions with respect to plan

 assets,” and (5) the advice will be individualized “based on the particular needs of the plan.” 29

 C.F.R. § 2510.3-21(c)(1) (emphasis added); see also AR 293, AR 489-90. The Department’s

 interpretation that a first-time provision of investment advice to rollover assets, when “objective

 evidence” demonstrates that the parties “mutually intend an ongoing advisory relationship,” AR

 9-10, is consistent with that regulatory “text, structure, history, and purpose.” Kisor, 139 S. Ct. at

 2424. In a fiduciary rollover scenario, the financial advisor is “render[ing] advice . . . as to the

 advisability . . . or selling securities or other properties” from the ERISA plan; has begun to provide

 such advice “on a regular basis” given the mutual expectation of an ongoing relationship; is doing

 so “pursuant to a mutual . . . understanding,”; is providing advice that will be a “primary basis”

 for the rollover decision; and is providing “individualized” advice. 29 C.F.R. § 2510.3-21(c)(1).


                                                                                              APP 056
                                                   29
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         Plaintiff’s contrary arguments lack merit. First, Plaintiff falls back on the demonstrably

 incorrect assertion that the Department’s view would sweep in all one-time IRA rollover or annuity

 transactions. ASA Br. at 8, 10, 23. In fact, the preamble and the FAQs all make plain that the 1975

 five-part test needs to be satisfied in full and that a one-time rollover recommendation, without

 something more, would fail to satisfy the regular basis test. 9 In fact, the Department received and

 rejected one comment suggesting “that a rollover transaction should always satisfy the regular

 basis prong on the grounds that it can be viewed as involving two separate steps—the rollover and

 a subsequent investment decision.” AR 7. Instead, the Department’s view for purposes of the

 exemption was that “[t]hese two steps do not, in and of themselves, establish a regular basis.” Id.

 Plaintiff’s strawman assertion that all one-time rollovers are covered is simply belied by the record.

         Second, Plaintiff contends that a financial advisor’s act of providing advice in connection

 with a rollover cannot be made “on a regular basis to the plan,” 29 C.F.R. §2510.3-21(c)(1),

 because “[a]fter the rollover, however, any future advice will be with respect to a new plan.” ASA

 Br. at 21. Under Plaintiff’s telling, the position of trust and confidence inherent in person-to-person

 fiduciary relationships—not to mention the accepted statutory purpose behind ERISA to protect

 the retirement savings of individual Americans—takes a back seat to the needs of ERISA plans.

 But plans in this context are artificial entities comprised of money or property belonging to

 individuals, as ERISA’s statutory definition of “fiduciary” makes plain. See 29 U.S.C.

 § 1002(21)(A)(ii) (a fiduciary “renders investment advice for a fee or other compensation, direct

 or indirect, with respect to any moneys or other property of such plan.”) (emphasis added).


 9 See AR 7 (Exemption Preamble) (“The Department agrees that not all rollover recommendations can be
 considered fiduciary investment advice under the five-part test set forth in the Department’s regulation.
 Parties can and do, for example, enter into one-time sales transactions in which there is no ongoing
 investment advice relationship, or expectation of such a relationship.”); AR 1351 (FAQ 7) (“A single,
 discrete instance of advice to roll over assets from an employee benefit plan to an IRA would not meet the
 regular basis prong of the 1975 test”).
                                                                                                 APP 057
                                                    30
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        Indeed, the Supreme Court has rejected such a myopic focus on plans to the exclusion of

 the money or property that make up a particular ERISA plan. In LaRue v. DeWolff, Boberg &

 Associates, Inc., the court rejected a ruling by the Fourth Circuit which had found that Section

 502(a)(2) of ERISA—which authorizes civil actions against fiduciaries for breach of fiduciary

 duties and resulting harm to ERISA plans—“provides remedies only for entire plans, not for

 individuals.” 552 U.S. 248, 250 (2008). Instead, the court held that “although § 502(a)(2) does not

 provide a remedy for individual injuries distinct from plan injuries, that provision does authorize

 recovery for fiduciary breaches that impair the value of plan assets in a participant’s individual

 account.” Id. at 256. See also id. at 262 (Thomas, J., concurring) (“The question presented here,

 then, is whether the losses to petitioner’s individual 401(k) account resulting from respondents’

 alleged breach of their fiduciary duties were losses ‘to the plan.’ In my view they were, because

 the assets allocated to petitioner’s individual account were plan assets.”). Here, of course,

 individual retirement assets included in an ERISA plan—which would be the very assets subject

 to a rollover—plainly constitute “moneys or other property of such plan” as used in the statutory

 definition of “fiduciary” under ERISA. See 29 U.S.C. § 1002(21)(A)(ii) (emphasis added). The

 1975 regulation reflects a similar focus on plan assets and property. See 29 C.F.R. § 2510.3–

 21(c)(1) (fiduciary “makes recommendations as to the advisibility of investing in, purchasing, or

 selling securities or other property”); see also id. (fiduciary’s advice is designed to serve as a

 primary basis for investment decisions “with respect to plan assets.”).

        Moreover, Plaintiff’s argument would lead to absurd outcomes because the five-part test

 for fiduciaries appears both in Title I and the Code. In the case of a rollover, the “advice is rendered

 to the exact same Retirement Investor (first as a Plan participant and then as IRA owner), and the

 IRA assets are derived, in the first place, from that Retirement Investor’s Title I Plan account.”


                                                                                               APP 058
                                                   31
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 AR 10. It would make no sense to treat someone who would satisfy the fiduciary definition with

 respect to the Title II plan following the rollover as exempt from fiduciary status with respect to

 the original rollover recommendation. See id. (“A different outcome could all too easily defeat

 legitimate investor expectations of trust and confidence by arbitrarily dividing an ongoing

 relationship . . . and uniquely carving out rollover advice from fiduciary protection.”)

        Third, Plaintiff argues unpersuasively that the “regular basis” prong must be satisfied in

 advance of the rollover recommendation and that the Department’s interpretation would impose

 retroactive fiduciary status. ASA Br. at 22. Given that the same five-part test appears in Title II, a

 financial advisor recommending a rollover to an IRA housed at his or her financial institution

 would almost certainly meet the definition of fiduciary with respect to the IRA, and it would be

 patently inconsistent with ERISA’s purposes to exempt the initial rollover recommendation from

 fiduciary status when the formation of the relationship of trust and confidence in the IRA plan is

 the precise point of the exercise. Moreover, a broker-dealer engaging in a one-time transaction

 need not worry about fiduciary status under the Department’s interpretation.

        Fourth, Plaintiff’s argument that FAQ 15 is at odds with the text of the Exemption is

 unpersuasive. The Exemption requires, as a condition for receiving otherwise-prohibited

 compensation, that an investment professional “document[] the specific reasons that any

 recommendation to roll over assets . . . is in the Best Interest of the Retirement Investor.” AR 66

 (Exemption §2(c)(3)). Here, the exemplar documents described in FAQ 15 (and in the preamble)

 are a logical interpretation of what a fiduciary might reasonably be expected to provide in order to

 explain “the specific reasons” that a rollover is in “the Best Interest of the Retirement Investor.”

 Id. The use of the word “specific” suggests more than a mere assertion that a rollover is in a

 person’s best interest. See “Specific,” Webster’s New World College Dictionary (4th ed.),


                                                                                             APP 059
                                                  32
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 https://www.yourdictionary.com/specific (last accessed June 22, 2022) (“specifying or specified;

 precise, definite, explicit.”) Here, it strains credulity to think that, in providing a retirement

 investor with the “specific reasons” for why a rollover recommendation of a lifetime of savings is

 in his best interest, an advisor would not have to discuss “alternatives to a rollover,” the “fees and

 expenses” associated with both plans, and the “different levels of services and investments

 available” under the two plans. See AR 1355 (FAQ 15). Nor could an advisor possibly provide

 “specific reasons” why an IRA rollover was in an investor’s best interest if the advisor did not

 “make diligent and prudent efforts to obtain information about the existing employee benefit plan

 and the participant’s interests in it.” Id.

         For these reasons, the Department’s views on the application of the “regular basis” prong

 to rollover recommendations is consistent with the text, structure, and purpose of ERISA and the

 1975 regulations, and the documentation requirement is consistent with the requirement in the

 Exemption that “specific reasons” be provided to an investor in order to explain that a rollover is

 in his or her best interest. AR 66.

     B. To The Extent That The 1975 Regulation Is Ambiguous, The Department’s
        Interpretation Of Its Own Regulations Here Is Entitled To Deference, And Its
        Interpretation Was Reasonable.

         Assuming the court finds the 1975 regulation ambiguous with respect to whether the

 “regular basis” prong can be satisfied on objective evidence that a rollover recommendation is the

 start of a fiduciary relationship with respect to the new plan, an agency’s interpretation of its own

 regulations is “controlling unless plainly erroneous or inconsistent with the regulation.” Auer v.

 Robbins, 519 U.S. 452, 461 (1997); see also Kisor, 139 S. Ct. at 2412 (“We have

 explained Auer deference (as we now call it) as rooted in a presumption about congressional

 intent—a presumption that Congress would generally want the agency to play the primary role in


                                                                                             APP 060
                                                  33
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 resolving regulatory ambiguities.”). 10 Such deference is particularly appropriate in specialized

 regulatory fields where the agency’s expertise warrants a special role in interpreting prior

 regulations. See Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512 (1994) (“This broad

 deference is all the more warranted when . . . the regulation concerns a complex and highly

 technical regulatory program.”). Additionally, when an agency discusses its views on a prior

 regulation in the context of a preamble to a new regulation, that preamble can have “independent

 legal effect,” Kennecott Utah Copper Corp. v. U.S. Dep’t of the Interior, 88 F.3d 1191, 1223 (D.C.

 Cir. 1996), or may also inform the proper interpretation of a regulation. See U.S. Dep’t of Labor

 v. Wolf Run Mining Co., Inc., 446 F. Supp. 2d 651, 654 (N.D. W. Va. 2006). The Supreme Court

 has recently clarified that the application of Auer deference turns on whether “a regulation is

 genuinely ambiguous.” Kisor, 139 S. Ct. at 2414.

         Here, assuming the 1975 regulation is ambiguous with respect to the “regular basis” prong,

 the Department’s interpretation in FAQ 7 is reasonable and entitled to deference. As an initial

 matter, the Department received considerable public comment on the importance of rollover

 decisions for plan participants and the need for greater safeguards in this area to protect retirement

 investors. See AR 158 (Comment from Committee on Investment of Employee Benefit Assets)

 (“Defined contribution 401(k) plans are an increasingly important source of retirement income and

 investing, and rollover decisions for the average saver can be daunting. As such, the average 401(k)

 participant needs both advice from trusted experts and safeguards from conflicted advice when

 considering whether and how to rollover their retirement savings.”). Some commenters suggested


 10 Though Plaintiff has waived any argument that the Exemption and preamble are arbitrary and capricious
 under the APA, such an argument would encounter its own set of deference doctrines for purposes of
 judicial review. See AFL-CIO v. Donovan, 757 F.2d 330, 343 (D.C. Cir. 1985) (where “[t]he Secretary is
 expressly delegated the authority to grant [an] exemption and is required to make certain other
 determinations in order to do so. That grant and those determinations have legislative effect, are thus entitled
 to great deference under the ‘arbitrary and capricious’ standard.”).
                                                                                                      APP 061
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 doing away with the regular basis prong altogether. See AR 203 (Comment from Morningstar,

 Inc.) (“The broader applicability of the standard in the Proposed Rule is necessary to prevent

 investors from receiving conflicted advice. Conflicted advice has been linked to millions of

 Americans rolling over low-cost 401(k) accounts into higher-cost IRAs and investing in funds with

 higher expense ratios and loads.”). The Department appropriately balanced comments on both

 sides of the issue, retained the 1975 five-part test, explained that one-off rollover recommendations

 would not qualify, and required objective evidence of an intent to establish an ongoing relationship

 of trust and confidence prior to finding fiduciary status.

        Similarly, with respect to FAQ 15, assuming the Exemption’s guidance that an investor

 “document[] the specific reasons that any recommendation to roll over assets . . . is in the Best

 Interest of the Retirement Investor,” AR 66, is ambiguous, the Department’s interpretation in the

 preamble and in the FAQs of the type of documentation that fiduciaries should strive to provide is

 patently reasonable and entitled to deference. As previously noted, see supra at 32-33, the required

 documentation comprises the very type of information that a reasonable investor would expect to

 receive in connection with deciding whether a rollover was in his best interest.

        Plaintiff’s protestation that information about the current plan may not be available to the

 financial advisor, see Palermo Decl. ¶ 11, misses the mark for two reasons. First, in general, such

 information should be readily available as a result of Department regulations mandating disclosure

 of Plan-related information to the Plan’s participants. See 29 § C.F.R. 2550.404a-5. Second, if it

 is not, fiduciaries are permitted to “make a reasonable estimation of expenses, asset values, risk,

 and returns based on publicly available information.” AR 1355.

                                          CONCLUSION

        For the foregoing reasons, Defendants are entitled to dismissal or summary judgment on

 all claims, and the Court should deny Plaintiff’s motion for summary judgment.
                                                                                            APP 062
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     Dated: June 24, 2022                               Respectfully submitted,

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                                                        Principal Deputy Assistant Attorney General

                                                        BRAD P. ROSENBERG
                                                        Assistant Branch Director

                                                        /s/ Alexander N. Ely
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                                                        Counsel for Defendants


                                 CERTIFICATE OF SERVICE

        I certify that on June 24, 2022, I electronically filed the foregoing with the Clerk of Court

 using the CM/ECF system, which sent e-mail notification of such filing to all CM/ECF

 participants.

                                                      /s/ Alexander N. Ely
                                                      Alexander N. Ely

                                                      Counsel for Defendants Department of
                                                      Labor and Martin J. Walsh




                                                                                           APP 063
                                                 36
                                                                  TAB 9
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Employee Benefits Security Administration




Advisory Opinion 2005-23A - WITHDRAWN AS
OF 6/29/2020

December 7, 2005                                                            2005-23A
                                                                                3(21)
Michael 'J' Stapley
President
Deseret Mutual Benefit Administrators
Eagle Gate Plaza
60 East South Temple
P.O. Box 45530
Salt Lake City, UT 84145



Dear Mr. Stapley:

This is in response to your request for guidance concerning the fiduciary responsibility provisions of the Employee Retirement
Income Security Act of 1974, as amended (ERISA). You have requested guidance concerning the responsibilities of plan
fiduciaries regarding the advice and other services provided directly to plan participants by financial planners or advisers. For
purposes of this letter, we assume that the planner or adviser is neither chosen nor promoted by plan fiduciaries and is not
otherwise a fiduciary with respect to the plan. In that context, you ask a number of questions.

The relevant statutory provisions are as follows. Section 3(21)(A) of ERISA provides that a person is a fiduciary with respect to a
plan to the extent (i) he exercises any discretionary authority or discretionary control respecting management of such plan or
exercises any authority or control respecting management or disposition of its assets, (ii) he renders investment advice for a fee
or other compensation, direct or indirect, with respect to any moneys or other property of such plan, or has any authority or
responsibility to do so, or (iii) he has any discretionary authority or discretionary responsibility in the administration of such
plan.

Sections 403{c)(l) and 404{a) of ERISA require, among other things, that the assets of a plan be held for the exclusive purpose of
providing benefits to participants and beneficiaries of the plan and defraying reasonable administrative expenses of
administering the plan, and that a fiduciary with respect to the plan carry out his duties for the exclusive purpose of providing
benefits to participants and beneficiaries.

Where an individual account pension plan permits a participant or beneficiary to exercise control over the assets in his or her
account and a participant or beneficiary exercises such control, section 404{c) provides that no other person who is otherwise a
fiduciary shall be liable for any loss, or by reason of any breach, which results from such participant's or beneficiary's exercise of
control.

Section 405(a) of ERISA provides that a fiduciary of a plan may be liable for a breach of fiduciary responsibility committed by
another fiduciary of the plan: (1) if he knowingly participates in, or knowingly undertakes to conceal, an act or omission of such
other fiduciary, knowing such act or omission is a breach; (2) if, by his failure to comply with section 404{a)(l) of ERISA in the
exercise of his fiduciary obligations, he has enabled such other fiduciary to commit a breach; or (3) if he has knowledge of the
breach by such other fiduciary, unless he makes reasonable efforts under the circumstances to remedy the breach.

Section 406{a) of ERISA prohibits various types of transactions between a plan and persons who are parties in interest with
    respect to the plan. In particular, section 406{a)(l)(D) prohibits a fiduciary from engaging in a transaction if the fiduciary knows
or should know that the transaction is a direct or indirect transfer to, or use by or for the benefit of any party in interest, of the
assets of the plan. Section 406{b) of ERISA prohibits a fiduciary with respect to a plan from dealing with assets of the plan in his
own interest or for his own account, acting on behalf of or representing a party dealing with the plan in a transaction involving
                                                                                                                                      APP 064
the assets of the plan, or receiving any consideration for his own personal account from any party dealing with the plan in
connection with a transaction involving the assets of the plan.
                                                                                                                                                1/4
  Case
The        3:22-cv-00243-K-BT
    following                               Document
              is a summary of the questions presented in your21     Filed
                                                             letter and     07/15/22
                                                                        our responses thereto.Page             65 of 67 PageID 206
Question 1: Is an individual who advises a participant, in exchange for a fee, on how to invest the assets in the participant's
account, or who manages the investment of the participant's account, a fiduciary with respect to the plan within the meaning
of section 3(21)(A) of ERISA?

Answer: The Department has stated on numerous occasions that directing the investment of a plan constitutes the exercise of
authority and control over the management or disposition of plan assets and that the person directing the investments would
be a fiduciary, even if the person is chosen by the participant and has no other connection to the plan. In addition, regulation 29
CFR § 2510-3.21(c) further clarifies the meaning of the term "investment advice." Under that regulation, a person will be
deemed to be rendering investment advice if such person renders advice to the plan as to the value of securities or other
property, or makes a recommendation as to the advisability of investing in, purchasing, or selling securities or other property
and such person either directly or indirectly has discretionary authority or control, whether or not pursuant to an agreement,
arrangement or understanding, with respect to purchasing or selling securities or other property for the plan; or renders any
such advice on a regular basis to the plan pursuant to a mutual agreement, arrangement or understanding, written or
otherwise, between such person and the plan or a fiduciary with respect to the plan, that such services will serve as a primary
basis for investment decisions with respect to plan assets, and that such person will render individualized investment advice to
the plan based on the particular needs of the plan regarding such matters as, among other things, investment policies or
strategy, overall portfolio composition, or diversification of plan investments. The Department has taken the position that this
definition of fiduciary also applies to investment advice provided to a participant or beneficiary in an individual account plan
that allows participants or beneficiaries to direct the investment of their accounts. 29 CFR § 2509.96-l(c).

In the context of a participant-directed individual account plan meeting the requirements of ERISA section 404(c), a person,
such as a financial planner or investment manager or adviser, who is selected by a participant to manage the participant's
investments would be liable for imprudent investment decisions because those decisions would not have been the direct and
necessary result of the participant's exercise of control, even though the participant selected the person to manage the assets
in his or her individual account. IJJ The other fiduciaries of the plan would not be liable as fiduciaries for either the selection of
the investment manager or investment adviser or the results of the investment manager's decisions or investment adviser's
recommendations.12-l Nor would the plan fiduciaries have any obligation to advise the participant about the investment
manager or investment adviser or their investment decisions or recommendations. See 29 CFR § m2550.404c-l(f) -- Example
(9).

Question 2: Does a recommendation that a participant roll over his or her account balance to an individual retirement account
(IRA) to take advantage of investment options not available under the plan constitute investment advice with respect to plan
assets?

Answer: It is the view of the Department that merely advising a plan participant to take an otherwise permissible plan
distribution, even when that advice is combined with a recommendation as to how the distribution should be invested, does
not constitute "investment advice" within the meaning of the regulation (29 CFR § 2510-3.21(c)). mThe investment advice
regulation defines when a person is a fiduciary by virtue of providing investment advice with respect to the assets of an
employee benefit plan. The Department does not view a recommendation to take a distribution as advice or a recommendation
concerning a particular investment (i.e., purchasing or selling securities or other property) as contemplated by regulation§
2510.3-2l(c)(l)(i). Any investment recommendation regarding the proceeds of a distribution would be advice with respect to
funds that are no longer assets of the plan. 11)

Where, however, a plan officer or someone who is already a plan fiduciary responds to participant questions concerning the
advisability of taking a distribution or the investment of amounts withdrawn from the plan, that fiduciary is exercising
discretionary authority respecting management of the plan and must act prudently and solely in the interest of the participant.
lfil Moreover, if, for example, a fiduciary exercises control over plan assets to cause the participant to take a distribution and
then to invest the proceeds in an IRA account managed by the fiduciary, the fiduciary may be using plan assets in his or her own
interest, in violation of ERISA section 406(b)(l).

Question 3: Would an advisor who is not otherwise a plan fiduciary and who recommends that a participant withdraw funds
from the plan and invest the funds in an IRA engage in a prohibited transaction if the advisor will earn management or other
investment fees related to the IRA?



                                                                                                                                         APP 065
Answer: No. For the same reasons explained above, a recommendation by someone who is not connected with the plan, that a
participant take an otherwise permissible distribution, even when combined with a recommendation as to how to invest
distributed funds, is not investment advice within the meaning of the 29 CFR § 2510-3.21(c), nor is such a recommendation, in
and of itself, an exercise of authority or control over plan assets that would make a person a fiduciary within the meaning of

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  section    3:22-cv-00243-K-BT
          3(21)(A)                               Document
                   of ERISA. Accordingly, a person              21 Filed 07/15/22
                                                   making such recommendations would not be a Page
                                                                                              fiduciary66  ofon67
                                                                                                       solely        PageID
                                                                                                                the basis of               207
  making such recommendations, and would not engage in an act of self-dealing if he or she advises the participant to roll over
  his account balance from the plan to an IRA that will pay management or other investment fees to such person.

  However, as indicated above with respect to question 2, this position applies only to advice provided by a person who is not a
  plan fiduciary on some other basis. Advice of this nature given by someone who is already a fiduciary of the plan would be
  subject to ERISA's fiduciary duties. Moreover, if the person exercised control over the participant's account in making the
  distribution and reinvestment outside the plan, the person would be a fiduciary and would be subject to the ERISA's fiduciary
  obligations.

  This letter constitutes an advisory opinion under ERISA Procedure 76-1 (41 Fed. Reg. 36281, August 27, 1976). Accordingly, this
  letter is issued subject to the provisions of the procedure, including section 10 relating to the effect of advisory opinions.


  Sincerely,
  Louis Campagna
  Chief, Division of Fiduciary Interpretations
  Office of Regulations and Interpretations




  Footnotes
      1. See Advisory Opinion 84-04A, January 4, 1984 (AO 84-04A). In particular, AO 84-04A stated that if a person is deemed to
        be giving investment advice within the meaning of regulation§ 2510.3-21(c)(l)(ii)(B), the presence of an unrelated
        second fiduciary acting on the investment advisors recommendations on behalf of the plan is not sufficient to insulate
        the investment advisor from fiduciary liability under section 406(b) of ERISA. Regulation§ 2510.3-21(c)(l)(B) presupposes
        the existence of a second fiduciary who by agreement or conduct manifests a mutual understanding to rely on the
        investment advisor's recommendations as a primary basis for the investment of plan assets. In the presence of such an
        agreement or understanding, the rendering of investment advice involving self-dealing will subject the investment
        advisor to liability under section 406(b) of ERISA. We believe that the same principles enunciated in AO 84-04A apply in
        the context of a financial planner or investment advisor rendering investment advice to a participant in a participant-
        directed plan.

      2. Other fiduciaries of the plan may have co-fiduciary liability of the plan if, for example, they knowingly participate in a
        breach committed by the participant's fiduciary. ERISA section 405(a).

      3. We note that a person recommending that a participant take a distribution may be subject to Federal or state securities,
        banking or insurance regulation.

      4. In the view of the Department, the situation described herein is distinguishable from those situations where a plan
        fiduciary exercises control over the timing of the distribution, the selection of the individual retirement plan provider and
        the products in which the distributions will be invested. For example, situations such as those involving automatic
        rollovers of mandatory distributions. See 29 CFR 2550.404a-2 (69 FR 58018, September 28, 2004). See also, AO 93-24A
         (September 13, 1993) and the letter from Robert J. Doyle to Judith McCormick, August 11, 1994.

      5. See Varity Corp. v. Howe, 516 U.S. 489, 502-03 (1996).




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